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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS




TEXANS FOR ISRAEL; MICHAEL ISLEY;
REGAVIM, A.R.; MEIR DEUTSCH; YOSEF BEN
CHAIM; and ARI ABRAMOWITZ,


             Plaintiffs,
                                                        Case No. 2:24-cv-167
v.
                                                        COMPLAINT
U.S. DEPARTMENT OF THE TREASURY;
JANET L. YELLEN, in her official capacity as
Secretary of the Treasury; U.S. DEPARTMENT
OF STATE; ANTONY J. BLINKEN, in his official
capacity as Secretary of State; U.S.
DEPARTMENT OF HOMELAND SECURITY;
ALEJANDRO MAYORKAS, in his official capacity
as Secretary of the Department of Homeland
Security; OFFICE OF FOREIGN ASSETS
CONTROL; BRADLEY T. SMITH, in his official
capacity as Director of the Office of Foreign Assets
Control; FINANCIAL CRIMES ENFORCEMENT
NETWORK; and ANDREA GACKI, in her official
capacity as Director of the Financial Crimes
Enforcement Network,

             Defendants.




       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


                                INTRODUCTION


        1.      This litigation challenges the constitutionality and legality of

portions of Executive Order 14115 (“EO” or “EO 14115”) issued by the President

on February 1, 2024, which authorizes the imposition of financial sanctions and

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immigration restrictions on persons, including U.S. citizens, who take actions that

conflict with the Biden Administration’s (the “Administration”) policy in Judea

and Samaria (also known as the West Bank).1

       2.    EO 14115 authorizes sanctions for two kinds of activities. One

focuses on “acts of violence,” including intimidation and property destruction. The

Administration’s public statements about the EO have focused exclusively on this

type of activity. Plaintiffs do not challenge that part of the EO.

       3.    The other kind of sanctionable activity sweeps much more broadly,

however, as it does not require any proof of violent or illegal conduct before finding

a violation. The EO makes it sanctionable for a person to “directly or indirectly”

harm “peace, security, or stability of the West Bank.” This open-ended and vague

provision empowers the Office of Foreign Assets Control within the Department

of Treasury (“OFAC”) to sanction anyone who acts contrary to what the Secretary

of the Treasury determines advances the cause of “peace, security, or stability of

the West Bank.” This violates the First Amendment.

       4.    This    language    is   particularly   expansive       given   what   the

Administration has said it considers detrimental to “peace” in the West Bank. The

Administration considers the “two-state solution” essential to peace and has made


1 Judea and Samaria, also known as the “West Bank,” has been the home of the
Jewish People since biblical times. In modern times, the area was commonly
described as Judea and Samaria (by United Nations documents, for example),
until 1950, when the Hashemite Kingdom of Jordan sought to buttress its military
occupation by renaming the area “West Bank.” Plaintiffs strongly oppose use of
the term “West Bank,” as that term often is used to delegitimize Israel’s current
claim to the land and the Jewish People’s status as indigenous to the land.
However, for ease of understanding and to mirror the language of EO 14115,
Plaintiffs will use the term “West Bank” at certain intervals for the purposes of
this Complaint.


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clear that it considers the mere act of Jews residing in or making pilgrimage to

sites in the West Bank as an “obstacle to peace.”2 In fact, the Administration has

even called visits of Jews to their holy sites “provocative”3 and thus presumably

harmful to the Administration’s perception of “stability.”

      5.     Since the start of the recent Israel–Hamas war, the Administration

also views those opposed to providing “humanitarian” aid to Hamas and its allies

in Gaza as detrimental to the “peace, security, or stability of the West Bank.”

      6.     Thus, anyone advocating against the two-state solution or expressing

public opposition to the distribution of “humanitarian” aid to Hamas and its allies

may be regarded as an obstacle to peace and potentially sanctioned under EO

14115, even when advocating for such positions through purely peaceful and

protected means.

      7.     Indeed, a memo circulated by the Biden Administration prior to

issuing related visa ban sanctions made clear that the relevant conduct

encompasses anyone whose conduct would “obstruct, disrupt or prevent efforts to

achieve a two-state solution.”4 This is the first and only sanctions regime where

an Administration has deemed ordinary, peaceful activities and reasonable

political positions supported by many Americans as inimical to “peace” and

therefore sanctionable.




2 Jacob Magid, ‘An obstacle to peace’: US lambasts Israeli moves to expand West

Bank settlements, TIMES OF ISRAEL (June 19, 2024), https://bit.ly/3SBRCIa.
3 Ron Kampeas, Biden administration slam Itamar Ben-Gvir’s ‘provocative’ visit

to Temple Mount, Jewish Telegraphic Agency (May 22, 2023),
https://bit.ly/4ch6suu.
4 Alexander Ward, Biden orders top aides to prepare reprimands for violent

Israeli settlers in West Bank, Politico (Nov. 18, 2023), https://bit.ly/46Axvjm.
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      8.      Activities that can “directly or indirectly” obstruct or disrupt a two-

state solution can and do include speech and conduct protected by the First

Amendment.

      9.      The broad scope of Section 1(a)(i)(A) of the EO means that any Israeli

national or private organization that publicly criticizes or peacefully campaigns

against the “two-state solution,” or provides support to Jews living in the West

Bank, is potentially subject to sanctions even though the individual or

organization may never have engaged in any violent or destructive activity related

to those policies. The EO therefore penalizes political and religious speech

protected by the First Amendment.

      10.     The enforcement of the EO violates the constitutional rights of

American citizens in four ways.

      11.     First, as discussed, the government focuses exclusively on, and

condemns the religious beliefs of, Jews and those who assist Jews. For instance,

the United States Government does not claim the residence of non-Jews in the

West Bank constitutes an “obstacle to peace” nor that pilgrimage to non-Jewish

religious sites in the West Bank is “provocative.” This presents dual First

Amendment problems, penalizing only one particular category of speech based

upon its content (i.e., support for Jewish settlers in Judea and Samaria) and

imposing sanctions upon only one particular category of people, as evidenced by

the fact that only Jewish individuals and groups have been sanctioned so far under

the EO. In this way, the EO infringes upon the free speech and the free exercise

rights of affected Jewish citizens, presenting two separate constitutional

violations.


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      12.    Then, the fact that the EO discriminates on the basis of viewpoint

presents an equal-protection violation. Because the EO authorizes the Executive

Branch to impose financial sanctions on persons and entities simply because they

espouse a position contrary to the Administration’s Middle East policy, U.S.

citizens subject to such enforcement are deprived of the equal protection of federal

law guaranteed by the Fifth Amendment. While any infringement on speech rights

can violate the First Amendment, a speech infringement targeted at only a specific

class of people—namely, individuals engaging in their First Amendment right to

practice their religion freely—violates the Fifth Amendment, as well.

      13.    Finally, the EO violates the Fifth Amendment Due Process Clause

due to the unconstitutional overbreadth and vagueness of its key terms. Actions

that “threaten the peace, security, or stability of the West Bank” and are therefore

sanctionable under the EO are entirely within the eye of the beholder. While one

administration may think it has a clear-cut understanding of what types of

conduct those terms implicate, that understanding could change overnight when

new decision-makers take office. That lack of adequate notice of the types of speech

and conduct that the EO deems sanctionable violates Plaintiffs’ right to due

process by rendering it impossible for them to conform their conduct to the dictates

of law.

      14.    Beyond the four separate constitutional violations identified above,

enforcement of the EO also impermissibly infringes upon the sincerely held

religious beliefs of American citizens, violating the Religious Freedom Restoration

Act (RFRA). The EO—which punishes U.S. citizens who wish to exercise their

religious beliefs by supporting Israel through monetary and other contributions—


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is unaccompanied by any interest sufficiently compelling to justify this

infringement.

       15.    The EO is also invalid because it lacks an adequate statutory basis.

Specifically, the factual predicates upon which the EO purports to be based—

relating to what it refers to as “settler violence” (i.e., violence inflicted by Jews who

live in the West Bank)—are rare in comparison to documented instances of

violence inflicted against such Jewish settlers. Rather than perform any

independent factual investigation to analyze the true source of the threat to West

Bank peace and stability, the Administration’s “factfinding” merely involved

collecting quotations from avowedly anti-Israel political groups with histories of

antisemitic conduct. Such “factfinding” does not provide a sufficient statutory

basis for the Administration to authorize sanctions. Using that material to impose

serious sanctions on individuals and entities is arbitrary and capricious.

       16.      Finally, the EO extends not only to the primary targets mentioned

above, but also to third parties who in any way support such targets. Section 3 of

the EO expands the scope of § 1 to the “making of any contribution or provision of

funds, goods, or services by, to, or for the benefit of any person whose property and

interests in property are blocked pursuant to” the EO. Thus, donors (including

U.S. citizens) could potentially be caught in this dragnet and subjected to

sanctions under EO 14115.

       17.    The Administration has already used the amorphous “peace,

security, and stability” language to target a nonviolent protest group operating

outside the West Bank that stages demonstrations against the delivery of aid to

Hamas-controlled Gaza—an area clearly not encompassed within the West Bank.


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      18.    The scope of this sanctioning authority is unprecedented, as it targets

beliefs held by many, if not most, Americans. The Administration is within its

foreign-policy prerogatives to pursue a two-state solution or oppose Israeli

settlements. But that does not make people who take the contrary position fringe

or radical—in fact, the Republican Party platform does not support the two-state

solution (the Texas Republican Party affirmatively opposes the two-state solution)

and does not view Jewish land ownership in the West Bank as contrary to

international law or “illegal.” Persons engaging in speech or peaceful conduct

consistent with the view of a major national party may therefore find themselves

sanctioned, without notice, on the ground that their advocacy violates federal law.

      19.    Similarly, the manner in which the “violence” sanctions are

administered makes it dangerous and difficult for Americans to engage in any kind

of First Amendment activity with Jewish persons in the West Bank. Persons can

be sanctioned (and have been sanctioned) notwithstanding the absence of criminal

convictions or complaints (or documented violent acts), based solely on allegations

made by partisan non-governmental organizations. Because the U.S. government

has no credible process for verifying allegations against sanctioned persons, it is

impossible for third parties, like some of the U.S.-based Plaintiffs, to know

whether anyone with whom they interact in the West Bank in exercise of their

constitutional rights may suddenly be deemed a sanctioned individual.

      20.    In short, the lack of process for making such determinations makes

it impossible for third parties to conduct due diligence.

      21.    Because of the exceedingly broad scope of sanctions authority with

respect to non-violent conduct and the lack of any prior notice to sanctions targets,


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any support for or involvement with Israelis that is consistent with Plaintiffs’

views could make them subject to sanctions—without notice—under Section 3.

                         JURISDICTION AND VENUE


       22.    This Court has federal-question jurisdiction under 42 U.S.C. § 1988

and 28 U.S.C. § 1331 because this action arises under the U.S. Constitution; the

Administrative Procedure Act, 5 U.S.C. § 500 et seq. (“APA”); the Immigration and

Nationality Act (“INA”); and the Religious Freedom Restoration Act, 42 U.S.C.

§ 2000bb-1(a).

       23.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) &

(e)(1). A substantial part of the events giving rise to this claim occurred in this

district, and each Defendant is an officer of the United States sued in his or her

official capacity.

                                  PLAINTIFFS


       24.    Michael Isley, a longtime resident of Amarillo, Texas, is the

President of Texans for Israel. He became committed to the importance of Israel

as a child after learning about Israel as the land to which Moses led the Jewish

people and the land in which Jesus lived.

       25.    Mr. Isley started Texans for Israel with friends while in college.

Inspired by a historically rich visit to an archaeological dig in Israel, the friends

were moved to create an organization that, as its website proclaims, “stands

committed to wholeheartedly supporting the Jewish People in their ancestral

homeland of Israel.”5 The mission statement notes that “[a]s a registered 501c3



5 TEXANS FOR ISRAEL, https://www.texansforisrael.com (last visited Aug. 2, 2024).


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nonprofit organization, [Texans for Israel’s] mission is to extend aid to individuals,

organizations, and communities, focusing especially on those in the heartland of

Israel: Jerusalem, Judea, and Samaria.”

      26.     As President of Texans for Israel, Mr. Isley first visited Israel in 1980

and has visited over 50 times since. In the last several years, it has been Mr. Isley’s

habit to visit Israel two to three times per year.

      27.    Specifically, as President of Texans for Israel, Mr. Isley has traveled

to Judea and Samaria over 40 times. Mr. Isley’s understanding of Judea and

Samaria as the Jewish homeland is an integral part of his Christian faith. As he

has previously stated: “One of our goals is to teach and tell our Christian friends

to support Judea and Samaria. It is the road on which the patriarchs walked. It is

the Cave of the Patriarchs bought by Abraham.”6

      28.    As a function of his profound appreciation for and religious

commitment to Israel, Mr. Isley maintains deep ties to communities throughout

Judea and Samaria.

      29.    For instance, Mr. Isley has for many years joined HaYovel—an

organization that matches interested volunteers with Jewish farmers residing in

Judea and Samaria—and picked grapes in Har Bracha, a town on the southern

ridge of Mount Gerizim, a mountain located in Samaria.

      30.    Acting through Texans for Israel, Mr. Isley has cultivated a strong

relationship with the Jewish community in Hebron—a historical Jewish holy city

in Judea—as well. He and Texans for Israel have hosted Mr. Yishai Fleischer, the



6Mike Isley – A Texan for Israel, CHRISTIAN FRIENDS OF ISRAELI COMMUNITIES,

https://cfoic.com/meet-christian-zionists/mike-isley (last visited Aug. 2, 2024).
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international spokesman for the Jewish Community of Hebron, at Mr. Isley’s home

in Texas many times to educate Americans, particularly religious Christians,

about the importance of Jewish sovereignty in Hebron. Mr. Isley has also donated

to the Hebron Fund, a 501(c)(3) organization whose principal location is Brooklyn,

New York. Likewise, Mr. Isley has traveled to New York for Hebron Fund

meetings.

      31.    Mr. Isley even assisted in producing a film about one of his trips to

Judea and Samaria to educate people about the righteousness of Jewish presence

there, and the moral, religious, and historical basis for the Jewish claim to

sovereignty over this area.

      32.    Through his relationship to communities in Judea and Samaria, Mr.

Isley actively works to increase ties between the Israeli and American

governments. For instance, acting as President of Texans for Israel, Mr. Isley

brought Mr. Tommy Waller and then-Members of Knesset (“MK”) Sharon Haskel

and Yehuda Glick from the West Bank to President Trump’s inauguration in

January 2017. In the same capacity, Mr. Isley has invited members of the Israeli

Knesset, including Ohad Tal, and others, including Yishai Fleisher and David

Wilder, to Washington, D.C., to meet with members of U.S. Congress. Similarly,

he brought then-MK’s Sharren Hasskel and Yehuda Glick to the 2016 Texas

Inaugural Ball for Governor Greg Abbott.

      33.    In turn, Ari Abramowitz, a citizen of Israel and resident of Samaria,

has stayed at Mr. Isley’s home many times as well, and, as Mr. Isley intended,

those visits have enabled Mr. Abramowitz to speak with Americans about the




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history and current work carried out by the Jewish communities in Judea and

Samaria.

      34.    Each of the Israelis identified in paragraphs 30, 32, and 33—whom

Mr. Isley and Texans for Israel support financially and whom they have invited to

the United States for the purposes of education and fundraising—are individuals

who hold views and engage in activities, including First Amendment protected

speech, that the Biden Administration would regard as “threaten[ing] peace and

security” in the Middle East.

      35.    Prior to the issuance of EO 14115, Mr. Isley and Texans for Israel

had intended to continue inviting the aforementioned individuals to visit the

United States in order to assist them in their fundraising efforts and to provide

them with a platform for educating Americans on the moral, historical, and

religious right of the Jewish people to live and be sovereign in the West Bank.

      36.    By virtue of supporting said individuals and organizations, Mr. Isley

fears that he himself, as well as his organization Texans for Israel, could be

subjected to sanctions without prior notice, and this fear has chilled his ability to

continue to support the invitation of the above-mentioned individuals to the

United States to enable them to speak to government officials and ordinary

citizens about Israel—and specifically, about Judea and Samaria.

      37.    Plaintiff Ari Abramowitz is a dual U.S.-Israeli citizen, currently

residing in the village of Ma’aleh Amos in the Gush Etzion Regional Council

municipality of Judea and Samaria.




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        38.   Mr. Abramowitz is a co-founder of Arugot Farm, an organic farm and

retreat center located in southeastern Judea.7 According to Mr. Abramowitz, the

farm is located “in an area critical to the safety and security of Israel and the

Jewish people.”8 As described on the website of Arugot Farm:


              Located in the heart of the biblical ‘Wilderness of Zif’
              where King David composed many of the Psalms and
              hid from King Saul, in just a few years, the Arugot
              Farm has been transformed from a barren desolate
              wilderness to a Garden of Eden-like oasis, unlike
              anything in the Land of Israel.9

        39.   Mr. Abramowitz actively encourages the establishment of other

Jewish owned and operated farming communities on state land in Judea and

Samaria. One medium for doing so is the website thelandofisrael.com.

        40.   Mr. Abramowitz also assists Jewish farmers and agricultural

institutions in Judea and Samaria by peacefully opposing attempts by Palestinian

Arabs and anti-Zionist individuals, organizations, and governmental and quasi-

governmental bodies to interfere with Jewish agricultural endeavors in Judea and

Samaria.

        41.   Mr. Abramowitz met Mr. Isley in or around 2001 while the latter was

visiting Israel. After meeting, a friendship of shared ideals blossomed.

        42.   Because Mr. Isley agrees with the goals of Mr. Abramowitz and

wishes to help advance them, Mr. Isley has donated to thelandofisrael.com and

has invited Mr. Abramowitz to speak in the United States.




7 ARUGOT FARM, https://arugotfarm.co.il/ (last visited Aug. 2, 2024).
8 Id.
9 About, ARUGOT FARM, https://arugotfarm.co.il/about (last visited Aug. 2, 2024).


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      43.      In turn, Mr. Abramowitz has invited Mr. Isley to stay with him for

up to two months at a time—and Mr. Isley has done so.

      44.      Because Mr. Abramowitz lives on an isolated farm and because

Palestinian terror groups reject Jews living anywhere in the West Bank—such

groups seek to “cleanse” the entire land of Jews—his farm has been repeatedly

subjected to violent attacks. For example:

            a. In an ambush in an olive grove, Palestinian terrorists threw large

               stones at his car, endangering his life.

            b. In a separate incident, his wife had her car stoned by Palestinian

               terrorists, while she was transporting their children.

            c. A shepherd employed by the farm was ambushed and badly beaten

               while herding the farm’s flock, requiring multiple stitches to his

               head.

            d. After suffering a car accident, Mr. Abramowitz’s car was stolen by

               Palestinians while he was waiting for help.

      45.      Mr. Abramowitz now fears venturing outside. Should he, his wife, or

his children again be attacked by Palestinian terrorists and should he use force to

defend himself and his family, Mr. Abramowitz may find himself subject to these

harsh sanctions without notice.

      46.      Plaintiff Regavim, A.R. (“Regavim”) is a non-profit organization

(“Amuta”), established in 2006 and existing under the laws of the State of Israel.

Regavim is a public movement dedicated to protecting Israel’s national lands and

resources. Specifically, Regavim actively opposes illegal construction in all sectors

as well as other methods of illegal seizure and control of Israel’s state lands and


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other assets by the Palestinian Authority. Regavim has consistently called for

equal and universal law enforcement and for government action to halt foreign

funding and support for illegal activities that violate Israeli jurisdiction and

international law.

      47.    In line with its advocacy for the rights of Jews and the State of Israel,

Regavim actively opposes the supply of so-called “humanitarian” aid to Hamas,

Islamic Jihad, and the myriad of organized crime cartels and other terrorist

organizations currently wreaking havoc in the Gaza Strip.

      48.    To that end, Regavim supported the grassroots movement known as

“Tzav 9,” a non-partisan, unincorporated association comprising some 15,000

individuals from diverse backgrounds, religious affiliations, and philosophical

orientations, including Jews, Christians and Muslims. Regavim supported Tzav 9

in various ways, including but not limited to the following: (1) providing

administrative and other back office services; (2) assisting in the preparation and

dissemination of public relations and other materials in the United States, Israel,

and around the world, explaining Tzav 9’s agenda and activity; (3) at the request

of religious and other institutions in the United States and on its own initiative,

dispatching spokespersons and activists from Tzav 9 and other organizations to

explain the misuse of “humanitarian” aid and U.S. taxpayer monies to the benefit

of Hamas, and to the detriment of the non-terrorist Gaza civilian population; (4)

appearing before government and non-governmental organizations to educate

policy makers, opinion makers and social influencers, regarding the misuse of

“humanitarian” aid to support Hamas and its affiliated terrorist organizations and

to persuade governmental bodies to cease and desist from delivering


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“humanitarian” aid to Hamas in order to protect Israeli citizens and to facilitate

the safe return of the hostages brutally taken by Hamas and its terrorist affiliates

on October 7, 2023.

       49.    From its inception, members of Tzav 9 have engaged in peaceful acts

of protest and civil disobedience to prevent the delivery of “humanitarian” aid into

the hands of Hamas and its affiliates.

       50.    Senior leaders of Regavim include numerous U.S. citizens who

currently reside in Israel, including Judea and Samaria, as well as Israeli citizens

and other nationals. A significant percentage of Regavim’s revenue originates from

American donors residing in the United States and in Israel.

       51.    Contributions to Regavim are made through the social charity

platform known as JGive.com, which is a project funded by the American Society

for Overseas Research (“ASOR”), “a non-profit 501(c)(3) organization whose

mission is to initiate, encourage, and support research into, and public

understanding of, the history and cultures of the Near East and wider

Mediterranean world, from the earliest times. ASOR is apolitical and has no

religious affiliation.”10

       52.    On June 14, 2024, OFAC placed Tzav 9 on its list of “Specially

Designated Nationals and Blocked Persons” (“SDN List”), pursuant to EO 14115.

In doing so, OFAC froze Tzav 9’s assets in its JGive account and has since

prohibited Americans from aiding the group in any manner.

       53.    According to the press release issued by the U.S. Department of

State, Tzav 9 was sanctioned pursuant to section 1(a)(i)(A) of the EO “for being


10 About ASOR, ASOR, https://bit.ly/3Wy3Brh (last visited Aug. 5, 2024).


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responsible for or complicit in, or having directly or indirectly engaged or

attempted to engage in actions—including directing, enacting, implementing,

enforcing, or failing to enforce policies—that threaten the peace, security, or

stability of the West Bank.”11 As a result of the sanctions, JGive has frozen

approximately 300,000 NIS (approximately $80,000) in donations. A significant

portion of that amount was intended to be paid to Regavim for expenditures

incurred on behalf of Tzav 9.

      54.    Due to the actions already taken by the Biden administration in

implementing EO 14115 with the revealed purpose to regulate Jewish settlers,

along with the all-encompassing language of the EO that prevents financial

contributions and other forms of support, Regavim is in imminent fear of

sanctions.

      55.    Plaintiff Meir Deutsch is the Director General of Regavim. He is a

dual U.S.-Israeli citizen who permanently resides in the West Bank. He serves as

a major (reserves) in the Israeli Defense Forces (“IDF”).

      56.    Mr. Deutsch—a staunch opponent of the two-state solution advocated

by the Biden Administration—is an orthodox, Zionist Jew who strongly believes

in the Jewish People’s right to reside in Biblical Israel, including and especially in

Judea and Samaria. Mr. Deutsch believes that the exercise of the Jewish People’s

rights in Judea and Samaria should be anchored and protected in Israeli and

international law and achieved through peaceful means.



11 Press Statement, Office of the Spokesperson, U.S. Dep’t of State, Sanctioning

Israeli Group for Disrupting and Destroying Humanitarian Aid to Civilians
(June 14, 2024), https://www.state.gov/sanctioning-israeli-group-for-disrupting-
and-destroying-humanitarian-aid-to-civilians/.
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      57.    Because of his monetary support to projects and organizations

(including Tzav 9) that—according to the Biden Administration—threaten the

peace and stability of the West Bank, Mr. Deutsch is in imminent threat of

sanctions.

      58.    Plaintiff Yosef Ben Chaim is a dual U.S.–Israeli citizen who

permanently resides in Netivot, Israel. Yosef is the husband of Reut Ben Chaim,

who was sanctioned under EO 14115 on July 11, 2024, for her involvement in the

Tzav 9 movement and her participation in the peaceful protests against the

transfer of “humanitarian” aid to Hamas and the other terrorist organizations in

Gaza. Yosef and Reut have eight children, all minors. Reut maintains a small

tour guide business—“Reut Hadrachot v’Proyektim”—and, as an employee of the

business and (prior to the sanctions), Yosef received a monthly salary. As we

discuss in more detail below, Yosef has been significantly and detrimentally

affected by the sanctioning of his wife. Shortly after being sanctioned, Reut’s

bank account—including her small business account—in Israel was frozen. Yosef

is no longer able to receive any salary from his employer. On top of all this,

Yosef cannot finance basic, day-to-day essential transactions: food, education,

medicine, hygiene products (i.e., diapers, etc.), mortgage payments, etc. Yosef

actively supported his wife’s activities and believed that by protesting the

provision of “humanitarian” aid to Hamas, Reut was doing what was right and

just. Despite his ongoing work responsibilities and other pressing matters, Yosef

would take care of his family of eight while Reut peacefully protested against

providing aid to terrorist organizations in Gaza.




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                                DEFENDANTS
       59.   Defendant U.S.     Department        of   the   Treasury (“Treasury

Department”) is a federal agency responsible for implementing sections of EO

14115. The Treasury Department is a Department of the Executive Branch of the

United States Government and is an agency within the meaning of 5 U.S.C.

§ 552(f).

       60.   Defendant Janet L. Yellen is the U.S. Secretary of the Treasury

Department (“Secretary of the Treasury”) and was responsible for formulating the

policy behind EO 14115 and, subsequently, implementing it in her capacity as the

Secretary of the Treasury.

       61.   Defendant U.S. Department of State (“State Department”) is a

federal agency responsible for implementing EO 14115. The State Department is

a Department of the Executive Branch of the United States Government and is an

agency within the meaning of 5 U.S.C. § 552(f).

       62.   Defendant Antony Blinken is the U.S. Secretary of State and was

responsible for formulating the policy behind EO 14115 and, subsequently,

implementing it in his capacity as the Secretary of State.

       63.   Defendant U.S. Department of Homeland Security (“DHS”) is a

federal agency responsible for implementing and enforcing the Immigration and

Nationality Act and EO 14115. DHS is a Department of the Executive Branch of

the United States Government and is an agency within the meaning of 5 U.S.C.

§ 552(f).




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      64.    Defendant Alejandro Mayorkas is the Secretary of DHS and was

responsible for formulating the policy behind EO 14115 and, subsequently,

implementing it in his capacity as the Secretary of DHS.

      65.    Defendant Office of Foreign Assets Control (“OFAC”) is a

component of the Treasury Department and is responsible for implementing

sections of EO 14115 pertaining to financial sanctions.

      66.    Defendant Bradley T. Smith is the current director of OFAC.

      67.    Defendant Financial Crimes Enforcement Network (“FinCEN”)

is a component of the Treasury Department and is responsible for implementing

sections of EO 14115 vis-à-vis U.S. banking and other financial institutions.

      68.    Defendant Andrea Gacki is the current director of FinCEN.

                           FACTUAL ALLEGATIONS


   A. Issuance of EO 14115


      69.    On February 1, 2024, President Biden issued EO 14115 pursuant to

the International Emergency Economic Powers Act (50 U.S.C. §1701 et seq.)

(“IEEPA”), the National Emergencies Act (50 U.S.C. §1601 et seq.) (“NEA”), section

212(f) and section 215(a) of the Immigration and Nationality Act of 1952 (“INA”)

(8 U.S.C. § 1182(f) and 8 U.S.C. § 1185(a)), and section 301 of Title 3, United States

Code.12 See Exhibit A.


123 U.S.C. § 300, entitled “General Authorization to Delegate Functions”:



    The President of the United States is authorized to designate and empower
    the head of any department or agency in the executive branch, or any official
    thereof who is required to be appointed by and with the advice and consent of
    the Senate, to perform without approval, ratification, or other action by the
    President (1) any function which is vested in the President by law, or (2) any


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      70.      EO 14115 creates a new and unique sanctions regime aimed at

persons who are deemed a threat to the stability of the “West Bank.”

      71.      EO Section 1 lists four potential targets that can be sanctioned:

      (a) A foreign person13 responsible for or complicit in, or that has directly or

            indirectly engaged or attempted to engage in:

            (1) Actions—including directing, enacting, implementing, enforcing, or

               failing to enforce policies—that threaten the peace, security, or

               stability of the West Bank. EO, §1(a)(i)(A).

            (2) planning, ordering, otherwise directing, or participating in any of the

               following actions affecting the West Bank: (1) acts of violence; (2)

               placing civilians in reasonable fear of violence; (3) property

               destruction; (4) seizure of property. EO, §1(a)(i)(B).

      (b) A leader or official of an entity, including any government entity, that

            has engaged in, or whose members have engaged in, any of the activities

            in sections (a)(1) and (a)(2) or a leader of an entity whose property and

            interests in property are blocked as a result of activities relating to the

            leader’s or official’s tenure. EO, §1(a)(ii)(A)-(B).




   function which such officer is required or authorized by law to perform only
   with or subject to the approval, ratification, or other action of the President
   ...

13 The term “person” means an “individual or entity.” EO, §7(c). The term “foreign

person” is not defined in the EO. For purposes of sanctions under Narcotics
Trafficking Sanctions Regulation, 31 C.F.R. §536 et seq., the term “foreign person”
includes “any citizen or national of a foreign state (including any such individual
who is also a citizen or national of the United States)” 31 C.F.R. §536.304. This
definition does not expressly apply to the sanctions under EO 14115. See also 31
C.F.R. § 536.300, which provides that the definitions apply to the Narcotics
Trafficking Sanctions only.
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       (c) A foreign person who has materially assisted, sponsored, or provided

             financial, material, or technological support for, or goods or services to

             or in support of, any person blocked pursuant to the EO. EO, §1(a)(iii).

       (d) An entity owned or controlled by, or to have acted or purported to act for

             or on behalf of, directly or indirectly, any person blocked pursuant to EO.

             EO, §1(a)(iv).

       72.      The imposition of sanctions under Section 1 requires a determination

by the Secretary of State, in consultation with the Secretary of the Treasury, or

vice versa.

       73.      In addition to the sanctions regime, the EO also prohibits (a) making

any contribution of funds, goods, or services by, to, or for the benefit of a blocked

person, EO, § 3(a); and (b) the receipt of any contribution or provision of funds,

goods, or services from any such person, EO, § 3(b).14 See also EO, § 5(a) (“Any

transaction that evades or avoids, has the purpose of evading or avoiding, causes

a violation of, or attempts to violate any of the prohibitions set forth in this order

is prohibited . . . .”).

       74.      In contrast to the EO’s sanctions regime, Section 3’s prohibition

applies to anyone, including U.S. citizens. See Background Press Call On

Upcoming Measures to Address Actions That Undermine Peace, Security, and

Stability in the West Bank (Feb. 1, 2024) (“Background Press Call”) (“It will also

prohibit U.S. persons making any contribution or provision of funds, goods, or

services by, to, or for the benefit of any of these persons, and the receipt of any



14 As noted, making a contribution that materially assists a blocked person is also

sanctionable under Section 1(a)(iii) of EO 14115.
                                            21
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contribution of provision of funds, goods, or services from those persons . . .”

(emphasis added)).15

      75.    EO Section 4 imposes sanctions under the INA, barring the entry of

any individual who meets “one or more of the criteria in section 1” of the EO. The

Department of Homeland Security administers immigration sanctions in

consultation with the Department of State.

      76.    Notably, EO Section 8 allows for all measures taken pursuant to the

EO to be carried out without any prior notice to the affected individual or entity.

      77.    The EO does not expressly refer to race or religion. However, the

intent, creation, and implementation of the EO were all directed at the Jewish

settler population, and no other. The Background Press Call discussed only actions

by the Jewish settler community. Moreover, on the same day the EO was issued,

Defendant FinCEN issued a “FinCEN Alert” entitled “Alert on Israeli Extremist

Settler Violence Against Palestinians in the West Bank” (“FinCEN Alert”).16 The

FinCEN Alert begins with the following statement:

             The Financial Crimes Enforcement Network (FinCEN) is issuing this
             alert to financial institutions related to the financing of Israeli
             extremist settler violence against Palestinians in the West
             Bank. (emphasis added).




15 Press Release, National Security Council, White House, Background Press

Call On Upcoming Measures to Address Actions That Undermine Peace,
Security, and Stability in the West Bank (Feb. 1. 2024), https://bit.ly/4daOaMP.
16 FIN. CRIMES ENF’T NETWORK, FINCEN ALERT ON ISRAELI EXTREMIST SETTLER

VIOLENCE AGAINST PALESTINIANS IN THE WEST BANK, FIN-2024-Alert001 (Feb. 1,
2024), https://bit.ly/3AbBlmR.
                                         22
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     B. Historical Background


       78.   Judea and Samaria have been the home of the Jewish People since

biblical times. It is estimated that approximately 92% of all place names

mentioned in the Bible are located in Judea and Samaria.17 The very name by

which the Jewish People have been known for millennia is derived from the polity

and geographic region known as Judea.

       79.    By decision of the Allied Powers at San Remo in 1920 and the League

of Nations in the Mandate for Palestine of 1922, Judea and Samaria were included

in the parcel of land to be administered by Great Britain. This land was referred

to as “Palestine.”

       80.   In the Palestine Mandate, the League of Nations charged Great

Britain with the responsibility of establishing a “Jewish national home” in the

mandated territory in recognition of “the historical connection of the Jewish people

with Palestine and to the grounds for reconstituting their national home in that

country.” Article 6 of the Palestine Mandate charged Great Britain with the duty

to “facilitate Jewish immigration” and to “encourage … close settlement by Jews

on the land, including state lands and waste lands not required for public

purposes.”

       81.   Following the General Assembly’s peace proposal involving the

creation of a Jewish state in 1947 and the expiration of the Mandate in 1948, the



17 For example, Bethlehem (Old Testament, Genesis 35:19; New Testament,
Matthew 2; Luke 2), Hebron (Old Testament, Genesis 13:18); Shilo (Old
Testament, Genesis 49:10), Bet-El (Old Testament, Genesis 12 and 13), Shechem
(Old Testament, Genesis 12:6), Michmas (Book of Samual I, 13:16), Jericho (Book
of Joshua, 6:1-5; New Testament, Matthew, 20: 20-34), Tekoa (Book of Samual II,
14:2), and many others, are all situated in Judea and Samaria.
                                        23
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Arab states and Palestinian Arab irregulars declared war against the Jews

residing there and the nascent State of Israel, with the aim of destroying the newly

declared Jewish State.

      82.    During Israel’s War of Independence, the Kingdom of Transjordan

managed to occupy significant parts of Mandatory Palestine, including parts of

Jerusalem and significant territory in Judea and Samaria. To assert its claim to

Judea and Samaria, Transjordan, which previously comprised only territory on

the east bank of the Jordan River, changed its name to “Jordan,” while referring

to Judea and Samaria, which lay on the west bank of the Jordan River as the

“West Bank”. Thus, the Jordanian occupation is the source of the term “West

Bank.”

      83.    Armistice agreements signed between Jordan and Israel in 1949 put

a temporary halt to the hostilities, while specifying that the Armistice Lines would

not constitute any final international boundary between the combatants. Hence,

Jordan’s later claims to have “annexed” the West Bank were never recognized by

the international community.18

      84.    During its occupation of Judea and Samaria from 1948 to 1967,

Jordan ethnically cleansed the entire Jewish population from the areas under its

control, destroying numerous Jewish communities in the West Bank and

Jerusalem.




18 See generally Yehuda Blum, The Missing Reversioner: Reflections on the Status

of Judea and Samaria, 3 ISR. L. REV. 279 (1968). Because the West Bank never
formally became a part of Jordan, Jewish settlements in the West Bank do not
violate the Geneva Conventions or international law (because the West Bank is
not the territory of a signatory party).
                                        24
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       85.   In June 1967, during the Six Day War, the West Bank was liberated

from Jordanian occupation and reunited with the State of Israel. It has been under

continuous Israeli administration to this day.

       86.   During the period of Israeli administration of the West Bank, the

government of Israel and the people of Israel reestablished Jewish communities

throughout biblical Judea and Samaria. The current Jewish population is

approximately 600,000 persons, who reside in hundreds of cities, towns, and

villages.

       87.   Many Jews and Gentiles both in Israel and throughout the world

believe that the Jewish People have a legal, historical, and religious right and duty

to settle throughout the Land of Israel, including and especially Judea and

Samaria.

       88.   The final legal status of these areas remains in dispute.

       89.   For many years, opponents of a Jewish presence in the West Bank

attempted to limit the rights of both American and Israeli citizens to speak,

campaign, and fulfill their religious beliefs and obligations regarding Judea and

Samaria.

       90.   Indeed, the United States Government has engaged in a long line of

discriminatory actions against those who support a Jewish presence in Judea and

Samaria.

       91.   For example, the first lawsuit against the Internal Revenue Service

(IRS) alleging viewpoint discrimination concerned a pro-Israel non-profit, Z Street,

whose application for non-profit status the IRS allowed to languish. Z Street’s

support of a Jewish presence in Judea and Samaria in part fueled the IRS’s


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discriminatory treatment of Z Street.19 The IRS eventually settled with Z Street,

issuing a formal apology.

      92.    Yet another example is the federal government’s boycott of Jewish

higher education institutions located in the West Bank under which federal grant

monies were prohibited from being distributed for research and other purposes.

This policy was rescinded by the Trump Administration and reinstituted during

the Biden Administration.20

      93.     EO 14115 is the latest step in this effort to curtail Jewish rights in

Judea and Samaria. EO 14115 creates a new and unique sanctions regime,

purporting to give U.S. agencies the authority to punish persons and entities who

take actions or assume religious positions that do not align with the

Administration’s preferred Middle East policy.

      94.    U.S. agencies implementing EO 14115 have focused almost

exclusively on alleged Jewish threats to the President’s vision, while largely

ignoring threats emanating from any other source.

      95.    Even though the EO is premised on the proposition that a sanctions

regime is necessary to promote peace, stability, and security in the Middle East, it

focuses nearly exclusively on peaceful Jewish groups, utterly ignoring the

principal source of terror, both in the West Bank and throughout the Land of

Israel; namely, Palestinian terror, which has reached epic proportions in the past

year, as the world witnessed on October 7, 2023.


19 Lori Lowenthal Marcus, The IRS Campaign Against Israel—and Us, WALL ST.

J. (Feb. 1, 2018), https://bit.ly/3WxY97Y.
20 Staff, AFP & Jacob Magid, US cuts science, tech cooperation with Israeli

institutions in the West Bank, TIMES OF ISRAEL (June 27, 2023),
https://bit.ly/3yvSes3.
                                        26
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      96.    Worse, the factual predicate upon which the EO rests—so-called

“settler violence”—has been accepted by the Biden Administration without any

independent research or analysis. Had Defendants properly discharged their

duties, they would have realized that the data relied upon is inaccurate and

biased. In fact, it was provided by anti-Jewish groups and groups opposed to the

very existence of Israel.

      97.    To date, the only individuals who have been placed on the EO’s

sanction list are Jews (see immediately below) even though there are, literally,

thousands of Palestinians who, in the last several months, have engaged in

activities that unquestionably threaten the “peace, security, or stability of the

West Bank.” EO, §1(a)(i)(A).

      98.    For instance, it is the formal and public policy of the Palestinian

Authority to funnel millions of dollars per year to terrorists and their families as

a reward for the murder of Jews in a program coined “Pay for Slay.”21 This

program unequivocally “threaten[s] the peace, security, or stability of the West

Bank.”

      99.    Although       these   payments   are   made   monthly,    the   Biden

Administration has not sanctioned a single person for making or receiving such

payments and has not stated any intention to impose sanctions related to the

making or receipt of such payments. Moreover, members of the Palestinian

Authority Security Forces—trained, armed and funded by the United States



21 Adam Rasgon & Mohammed Najib, Israel Cracks Down on Banks Over

Payments to Palestinian Inmates, N.Y. TIMES (May 9, 2020),
https://www.nytimes.com/2020/05/09/world/middleeast/israel-palestinian-
inmates-banks.html.
                                         27
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government since 1995—have committed acts of terrorism, including murder and

attempted murder of Israeli and American citizens.22 The Palestinian Authority

encourages and glorifies these acts of terrorism, uses US-provided resources to

memorialize the terrorists and to support their families, and publishes the names

of the terrorists from among its ranks, but this has not led to any resulting

sanctions on either perpetrators or the leaders of the organizations of which they

are members. To date, Palestinian officials who preside over the Palestinian

Authority’s system of murder for hire, known as “pay for slay,” have not been

sanctioned.

   C. Defendants’ failure to engage in proper fact-finding

      100.    Upon information and belief, Defendants have not engaged in any

meaningful fact-finding or analysis in support of the factual predicate for EO

14115. Instead, Defendants have adopted indiscriminately false and misleading

allegations of misconduct by Jewish residents of the West Bank without making

any effort to verify and validate such allegations with any of the following parties:

the targets of the EO; local government authorities; Israeli police; the Israeli

Defense Force (“IDF”) (who are the legitimate government authority throughout

the West Bank); and Israeli government officials, including the Minister of

Defense.




22 See generally Regavim (R.A.), OFFICERS BY DAY, TERRORISTS BY NIGHT (2024),

available                   at                     https://www.regavim.org/wp-
content/uploads/2024/03/regavimTerrorReportEng1202.pdf. This report, issued
by Plaintiff Regavim, exemplifies the arbitrary nature of EO 14115 by
underscoring the frequency with which Palestinian authorities, unabashedly and
without consequence, engage in terrorism against neighboring Jews.
                                         28
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      101.   In   addition,   Defendants      have   not   published   any   statistics

documenting the so-called “Israeli extremist settler violence” that the President

cited as authority for declaring a “national emergency” under the IEEPA and the

NEA. See 50 U.S.C. §1701(a) and 50 U.S.C. §1621.

      102.   The FinCEN Alert indicates that Defendants relied upon data from

the website of the United Nations Office for the Coordination of Humanitarian

Affairs (“OCHA”).23

      103.   With respect to Israel, OCHA has a history of “parroting . . . false and

distorted claims, thereby seeking to give credence and credibility to highly

misleading accusations.”24 Also, OCHA oversees and facilitates government

funding to a host of anti-Israel and even antisemitic organizations.25

      104.   The degree of such bias is acute and alarming, and the resulting

reports and data patently dishonest. For instance, OCHA routinely characterizes

acts of self-defense against Palestinian terrorists as a form of “settler violence” to

morally   equivocate   between    Palestinian    terrorists   and   Jewish    farming

communities.

      105.   For instance, OCHA reported 856 incidents of “settler violence” in

2022, using the terms “settler-related incidents,” “settler violence,” and “settler

attacks” interchangeably. However, OCHA’s definition of “incidents involving

Israeli settlers” is deceptively broad and captures the numerous and frequent



23 FINCEN ALERT ON ISRAELI EXTREMIST SETTLER VIOLENCE, supra note 17, at n.2

(“For statistics related to ongoing violence and casualties in the West Bank, see
United Nations Office for the Coordination of Humanitarian Affairs . . .”).
24 Core Bias in the UN Office for the Coordination of Humanitarian Affairs

(OCHA-oPt), NGO MONITOR (Feb. 1, 2017), https://bit.ly/4d8d9R9.
25 Id.


                                         29
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incidents in which Israelis must defend themselves against Palestinian terrorists.

Indeed, OCHA includes among Palestinian victims of alleged settler violence,

“Palestinians killed or injured during attacks or alleged attacks they perpetrated

against Israeli settlers” in addition to various other categories, including “attacks

and alleged attacks by Israeli settlers.”26

      106.   Thus, OCHA counts as victims of “settler violence” any Palestinian

killed or harmed in any encounter with Israeli nationals, even where the killed or

injured Palestinian was harmed during the course of carrying out a terrorist attack.

      107.   For instance, the OCHA Palestinian casualty dashboard appears to

count the wounding of the terrorist who shot David Stern as the wounding of a

Palestinian by an Israeli civilian settler.27 In March 2023, Israeli civilian Mr.

Stern had been driving through the Palestinian town of Huwara with his wife

when a terrorist opened fire, shooting Mr. Stern in the head. Mr. Stern responded

with his own gunfire.28




26 Data on Casualties, OCHA: UNITED NATIONS OFFICE FOR THE COORDINATION OF

HUMAN AFFAIRS, https://www.ochaopt.org/data/casualties (last visited Aug. 2,
2024); Nahal Toosi, US says Palestinians are close to changing ‘pay for slay’
program, POLITICO (Mar. 29, 2024), https://www.politico.com/news/2024/03/29/us-
says-palestinians-are-close-to-changing-pay-for-slay-program-00149734.
27 Data on Casualties, supra note 26. We arrived at this conclusion based on the

fact that only one Palestinian injury by an Israeli settler in the West Bank is
recorded for the day of March 17, 2023 (the day of the attack on Mr. Stern). To
arrive at this result, (1) select “Palestinian Injuries;” (2) select the proper date
range (03/17/2023-3/17/2023); (3) under “Area,” select “West Bank”; and (4) under
“Perpetrator,” select “Israeli civilian settler.”
28 Tzvi Joffre, ‘He’s like Iron Man’: Friends describe David Stern as educator,

hero, Jerusalem Post ((Mar. 20, 2023), https://www.jpost.com/israel-news/article-
734897; see also Michael Wolfowitz and Esther Salama, Returning to the Wild
West: Jewish Violence, Social Reaction, Self Help and Social Control, 62 INT.
ANNALS OF CRIM. 284 (2024).
                                         30
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      108.   This incident is represented by OCHA as Israeli violence. Indeed,

OCHA alleges that seven Palestinians were murdered by “extremist settlers” in

the West Bank from January 1, 2023, to October 7, 2023.29

      109.   Among the supposed victims of “settler violence” are the following

individuals: Abd al-Karim Badi’a Abd al-Karim Sheikh, who was shot by the IDF

while trying to infiltrate a farm near the Israeli town of Karnei Shomron while

armed with knives and explosives;30 Tareq Odeh Yusef M’aali, who was shot dead

by an Israeli civilian after breaking into his farm and attempting to stab him;31

and Muhannad Falah Abdallah Shihadah, who was shot dead after opening fire

and killing four Israeli civilians, including two minors, outside a hummus

restaurant near the town of Eli.32 These examples underscore the unreliability—

and genuinely bad faith nature—of such reports by OCHA and similar

organizations of “settler violence.”

      110.   As a result of OCHA’s inherent anti-Jewish and anti-Israel bias, the

data on OCHA’s website is grossly incomplete and inaccurate—unbefitting of a

data set supposedly relied upon by the United States Government when imposing

and implementing its sanctions regime.




29 Data on Casualties, supra note 26. To arrive at this result, (1) select

“Palestinian Fatalities;” (2) select the proper date range (01/01/2023-10/07/2023);
(3) under “Area,” select “West Bank”; and (4) under “Perpetrator,” select “Israeli
civilian settler.”
30 Emanuel Fabian, Palestinian shot dead after allegedly entering West Bank farm

with knives, IEDs, TIMES OF ISRAEL (Mar. 10, 2023), https://bit.ly/4fBGMvx.
31 Emanuel Fabian, Palestinian shot dead in alleged stabbing attempt at West

Bank outpost — IDF, TIMES OF ISRAEL (Jan. 21, 2023), https://bit.ly/4db1Jfm.
32 Ammar Awad, Palestinian gunmen kill four Israelis in West Bank, REUTERS

(June 21, 2023), https://bit.ly/3YwTrd4.
                                         31
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      111.   The    Administration’s    reliance   on   inherently   dishonest     and

antisemitic data is not novel. Repeatedly, the Administration has parroted

disproven casualty figures from the Gaza Ministry of Health, despite the fact that

this agency is controlled by the terrorist group Hamas.33 Legislation was passed

to halt the Administration from citing such false numbers.34

      112.   Nevertheless, Defendants have chosen to rely on OCHA as a source

to the exclusion of reputable and accurate Israeli and other sources.


      113.   The blatant inaccuracies of OCHA and similar anti-Jewish

organizations has been widely documented.35 Yet, upon information and belief,

Defendants failed to engage in any form of due diligence, making no effort either

to substantiate OCHA’s allegations whatsoever or to properly interpret OCHA’s

data in the context of the definitions provided.


      114.   In short, Defendants elect to focus solely on rare Israeli extremist

settler violence, based upon hearsay from extremely biased sources, while ignoring

pervasive, chronic, and brutal terror attacks perpetrated by Palestinians.




33 See, e.g., Steven Nelson, Biden says Israel killed ‘too many’ civilians as he

warns Netanyahu not to quash Hamas in Rafah without new plan, N.Y. POST
(Feb. 12, 2024), https://nypost.com/2024/02/12/news/biden-israel-killed-too-many-
gazans-netanyahu-must-not-squash-hamas-in-rafah-without-new-plan/.
34 U.S. Legislators Bar State Department From Citing Gaza Health Ministry

Fatality Statistics, FOUNDATION FOR DEFENSE OF DEMOCRACIES (June 28, 2024),
https://bit.ly/4dtSWF0.
35 See, e.g., Regavim, Settler Violence: The Making of a Modern Blood Libel,

YOUTUBE (Jan. 30, 2024), https://www.youtube.com/watch?v=VI3vNEyJnNM; see
also supra note 25, Core Bias in the UN Office for the Coordination of
Humanitarian Affairs.
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          115. Indeed, for some time, the West Bank has been the location of large-

scale, violent attacks by Palestinians against Jewish civilians and Israeli security

forces.


          116.   In stark contrast to the undocumented “Israeli extremist settler

violence,” there is well-documented evidence of an unprecedented increase in

Palestinian terrorism, both in the West Bank and in Israel proper:

             a. In January 2024, there were approximately nineteen terror attacks

                 against Israelis in the West Bank alone (14 shootings, two stabbings,

                 and three automobile-ram attacks). In addition, there were 337 rock-

                 throwing occurrences and 79 recorded Molotov cocktail incidents.

             b. In December 2023, there were approximately twenty-seven terror

                 attacks against Israelis in the West Bank alone (19 shootings, five

                 stabbings and three automobile-ram attacks), resulting in 26

                 individuals injured. In addition, there were 84 recorded Molotov

                 cocktail incidents.

             c. In November 2023, there were approximately twenty-seven terror

                 attacks by Palestinians against Israelis in the West Bank alone (25

                 shootings, four stabbings, and 1 automobile-ram attack), resulting in

                 18 injured and seven fatalities. In addition, there were 84 recorded

                 Molotov cocktail incidents.36



36 The above statistics are taken from the Israeli Security Agency (“ISA”), better

known as the Sherut haBitaẖon haKlali, or Shabak, or Shin Bet. For
documentation of the above statistics, please see the following (in Hebrew):
Monthly Terror Attack Report, ISRAELI SECURITY AGENCY (January 2024),
https://shabak.gov.il/media/arjj514v/‫ינואר‬-2024-‫דוח‬.pdf; Monthly Terror Attack


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      117. The problem of Palestinian terrorism is not limited to the West Bank.

According to Rescuers Without Borders, a volunteer Israeli medical first responder

organization, there were 7,386 such attacks in 2022 across Israel, resulting in 31

murdered and 734 wounded. This figure is underinclusive, as it includes only

events that required medical response teams—such as shootings, throwing

Molotov cocktails, stabbings, and the like—but not property crimes or attempted

attacks that did not require medical response teams.


      118. Furthermore, prior to the devastating attacks of October 7, 2023,

Rescuers Without Borders reported 3,640 attacks in the first half of 2023 alone,

resulting in 28 murdered and 362 wounded.


      119.   Using a narrower definition of terrorist attack, the Israeli security

service ISA listed 1,032 attempted terror attacks in 2023 and 414 successful

attacks in the West Bank and Jerusalem, besides the deadly October 7 massacre.

These attempts include 869 shooting attacks, 121 bombings, 21 stabbings, as well

as kidnappings, suicide bombings and ramming attacks. According to the ISA, 43

Israelis were killed and 224 wounded in these attacks.

      120. The months following October 7 have shown little improvement in

Palestinian violence against Jewish civilians and Israeli security forces.


      121.   Instead, the number of Palestinian terror attacks has only risen.

Palestinians carried out 515 terror attacks in the West Bank and Israel proper in

January 2024, 475 terror attacks in February, 493 attacks in March, and 513



Report, ISRAELI SECURITY AGENCY (November                  &    December     2023),
https://shabak.gov.il/media/rdjinpdh/‫דצמבר‬-‫עברית‬.pdf.
                                        34
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attacks in April. None of the terrorists involved in these attacks were sanctioned

by the United States, despite the widespread Palestinian violence against Jews in

the West Bank.

      122. Notably, Israeli security forces reported 16 major terror attacks—

involving either the use of firepower, knives, automobile-ram attacks or bombs –

in the West Bank in January 2024 alone, while security forces foiled 139 attempted

terror attacks.


      123. In February 2024, Palestinians carried out 21 major terror attacks in

the West Bank, while security forces foiled 102 attempted terror attacks.


      124. In March 2024, Palestinians carried out 28 major terror attacks in

the West Bank, while security forces foiled 89 attempted terror attacks.


      125. These attacks are unspeakably gruesome and inhumane, though

they receive little to no reprimand from the Administration.


      126. For instance, in February 2023, Elan Ganeles, a 26-year-old U.S.

citizen visited Israel to attend a friend’s wedding. Mr. Ganeles was driving on a

public highway in the Jordan Valley on February 27, 2023, when a Palestinian

terrorist cell, lying in ambush for vehicles bearing civilian Israeli license plates,

opened fire, killing Ganeles and wounding his friend in the passenger seat. The

perpetrators shot two more vehicles before fleeing.


      127. Less than a month later, on March 19, 2023, a Palestinian gunman

shot American-Israeli David Stern in the head as he drove with his wife on a West

Bank road near Huwara. A former U.S. Marine, Mr. Stern was able to return fire



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despite his injuries, warding off the Palestinian terrorist, who was eventually

captured. Mr. Stern and his wife thankfully survived. Despite being identified, Mr.

Stern’s attacker has not been sanctioned.


      128. These acts of Palestinian violence, including both organized terrorist

attacks and hate crimes of opportunity, continue unabated.


      129. More specifically, since October 7, 2023, more than 20 Israelis have

been murdered in Palestinian terrorist attacks in the West Bank.


      130. For instance, in February 2024, three Palestinian gunmen opened

fire at Israelis waiting at a checkpoint between Jerusalem and the city of Ma’ale

Adumim in Judea. One Israeli was killed, and eleven other Israelis were wounded,

including a pregnant woman, who was listed in serious condition.


      131. That same month, Yitzhak Zeiger, a 57-year-old father of three, and

16-year-old Uria Hartum, were slain at a gas station while filling their tank with

gas near the city of Eli. The gunman was a Palestinian Authority policeman.


      132. In April 2024, 14-year-old shepherd Benjamin Achimeir was killed

by Palestinian terrorists while tending to his flock of sheep near the city of

Hebron.37


      133. In June 2024, Amnon Mukhtar, a 67-year-old Jewish resident of the

Israeli city of Petah Tikvah, was shot in his car in Qalqilya while buying

vegetables. After shooting him, local Palestinians then burned him alive in his car.



37 I24News, Indictment Filed Against ISIS-Affiliated Terrorist Who Murdered 14-

year-old Shepherd, (June 20, 2024), https://bit.ly/3WOJiY6.
                                        36
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      134.   At the same time, Palestinians have engaged in many acts of arson

and property destruction directed at Jews in the West Bank.

      135.   Indeed, over the past several months, “firefighters have battled well

over 1,000 fires in Judea and Samaria, many of them adjacent to Jewish towns

and Israeli army bases, almost all of them certainly caused by arson.”38


      136.   West Bank terrorism against Jews is not a sporadic or solely

grassroots phenomenon. According to a report released by Palestinian Media

Watch on January 31, 2024, the supposedly moderate Palestinian Authority and

its Fatah ruling party are deeply involved in terror. Indeed, despite the

Palestinian Authority’s systematic campaign of terrorism—which includes paying

the families of “martyrs” under its infamous “Pay for Slay” program—it is not

subject to United States sanctions but is treated as a moderate partner for peace

in the pursuit of a “two state solution.”39

      137.   By Fatah’s own admission, Fatah members and the PA’s security

forces carried out more than 1,500 terror attacks against Israelis in 2023. The

Fatah movement recently released a video proudly showing 24 “martyrs” from its

ranks killed while carrying out attacks against Israel. For example, Fatah hailed

Ashraf Muhammad Amin Ibrahim, a Palestinian Authority military intelligence

officer, killed after firing shots at Israeli soldiers in Jenin on May 29, 2023.




38 David Weinberg, Judea and Samaria are literally on fire, ISRAEL HAYOM (July

8, 2024), https://bit.ly/4fB1QCk.
39 See Taylor Force Act, 22 U.S.C. §2378c–1. The goal of the Taylor Force Act is to

stop American economic aid to the Palestinian Authority until the PA ceases
paying stipends through the “Palestinian Authority Martyr’s Fund” to individuals
who commit acts of terrorism and to the families of deceased terrorists.
                                          37
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      138. In contrast to this reality—an unmitigated wave of Palestinian
violence explicitly encouraged by the Palestinian Authority—the United States

Security Coordinator (USSC) to Israel and the Palestinian Authority regularly

provides briefings and reports about “settler violence” to American policymakers.

The reports of settler violence suggest a phenomenon that is a mere fraction of

Palestinian violence, according to all measures—frequency of incidents, type of

incidents, brutality, and scope.


      139. Even when accounting for the lower volume and intensity of such
incidents, the reports of settler violence are questionable. For instance, the USSC

reports do not correspond with data from Israeli law enforcement. At the same

time, there is no evidence of any independent fact-finding or analysis by the USSC

or any other U.S. actor or independent investigator; instead, the USSC claims

appear to echo statements and figures from highly politicized and biased

organizations such as OCHA, discussed previously, and the far-left Israeli NGO

B’Tselem.40


      140.    An examination of OCHA’s and B’Tselem’s reports reveals that there

was not a consistent fact-finding methodology behind the data presented.

Moreover, it shows several deceptive methods for inflating the data. These reports

are tendentious, inaccurate, and inflammatory and should not form the basis of

United States policy.




40 See, e.g., Aryeh Green, Biden/Blinken’s Travesty of Common Sense and

Foreign Policy, TIMES OF ISRAEL (Feb. 6, 2024), https://bit.ly/4cdpIJx.
                                        38
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      141.   Other reports appear to be little more than fabrications. In November

2022, for instance, Premiere Urgence Internationale reported “Israeli settlers

committed at least 1,049 attacks against Palestinians in the occupied West Bank

between January and September 2022.”41 No source or methodology is provided.

      142.   Meanwhile, Yesh Din, a pro-Palestinian political organization

located in Israel, reported 160 “cases of settler violence or their property” from

January 2023 to September 2023, the source apparently being police complaints

filed at the urging of Yesh Din.42 After investigation, nearly all the complaints

were closed without charges being filed in court. The differing numbers do not

appear reconcilable.

      143.   In a Knesset hearing in March 2024, the chief of Israeli police for

Judea and Samaria district, Avishai Mualem, reported that half the complaints of

settler violence against Palestinians since the beginning of the Gaza War have

proven to be false. According to Mr. Mualem, many of these complaints are

ideologically motivated by far-left groups that seek to tar Israeli nationals living

in Judea and Samaria as extremists.


      144.   Additionally, Mr. Mualem stated that there had been a decrease in

nationalist violence against Palestinians in comparison with the previous year, a

fact that he attributed to increased law enforcement measures.




41 In West Bank – Violence by Israeli settlers against Palestinians is rising at a

straggering[sic] rate, PREMIERE URGENCE INTERNATIONALE (Nov. 4, 2022),
https://bit.ly/3LU1Xvb.
42 Data Sheet, December 2023: Law Enforcement on Israeli Civilians in the West

Bank (Settler violence) 2005-2023, YESH DIN (Jan. 21, 2024),
https://bit.ly/4dtbdSQ.
                                         39
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   D. Implementation of EO 14115


      145.   Sanctions under Section 1 of EO 14115 are implemented by

Defendant OFAC.

      146.   On the same day that EO 14115 was issued, OFAC announced that

it had placed four Israeli individuals on the SDN List: (1) David Chai Chasdai; (2)

Yinon Levi; (3) Einan Tanjil; and (4) Shalom Zicherman.43

      147.   Immediately following the publication of the sanctions against the

four individuals, two Israeli banks froze the bank accounts of two of the

individuals. Bank Leumi froze two accounts associated with Mr. Levi, and Bank

HaDoar froze an account associated with Mr. Chasdai. The accounts were frozen

without any prior notice to the blocked individuals.

      148.   On March 14, 2024, OFAC announced that it placed three additional

individuals on the SDN List: (1) Zvi Bar Yosef; (2) Nerya Ben Pazi; and (3) Moshe

Sharvit. OFAC also placed two entities that are associated with those individuals

on the SDN List: (1) Moshe’s Farm and (2) Zvi’s Farm.44

      149.   On March 26, 2024, in response to an inquiry from Daniel

Hahiashvili, Israel’s Supervisor of Banks, concerning the interpretation and scope

of EO 14115, Defendant Bradley T. Smith responded by letter clarifying that



43 Recent Action, Office of Foreign Assets Control, U.S. Dep’t of the Treasury,

Issuance of Executive Order Imposing Certain Sanctions on Persons
Undermining Peace, Security, and Stability in the West Bank; West Bank-
related Designations (Feb. 1, 2024), https://ofac.treasury.gov/recent-
actions/20240201.
44 Recent Action, Office of Foreign Assets Control, U.S. Dep’t of the Treasury,

West Bank-related Designations; Russia-related Designation; Counter Narcotics
Designation and Designations Updates; Transnational Criminal Organizations
Designation Update (Mar. 14, 2024), https://ofac.treasury.gov/recent-
actions/20240314.
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             Israeli banks can process transactions for
             individuals designated under E.O. 14115 that are
             ordinarily incident and necessary to basic human
             needs or subsistence without exposure to OFAC
             sanctions risk, provided these transactions do not
             involve the U.S. financial system or U.S. persons.45
      150.   On May 23, 2024, attorneys representing individuals and entities

who engage in or intend to engage in political and charitable activities related to

Judea and Samaria contacted OFAC seeking clarification on EO 14115 (“May 23

Letter”). See Exhibit C at 3-4. More specifically, the attorneys sought to ascertain,

inter alia: (1) whether engaging in speech and protests opposing the two-state

solution or in support of a Jewish presence in the West Bank was sanctionable;

(2) whether residing in the West Bank or supporting the growth of the Jewish

communities there was sanctionable; (3) whether donating to a host of charitable

causes in the West Bank was sanctionable; (4) whether engaging in self-defense

or asserting one’s title to land against Palestinian trespassers was sanctionable;

(5) whether engaging in social media activity opposing the two-state solution or

supporting Jewish sovereignty over the West Bank was sanctionable; and (6)

whether advocating or lobbying for either position was sanctionable.

      151.   On June 5, 2024, OFAC responded, asserting that OFAC “does not

administer comprehensive sanctions against the West Bank” and that the “West

Bank is not subject to broad, jurisdiction-based sanctions at this time, meaning

that not all activity involving the West Bank, or persons located in the West Bank,

are necessarily prohibited.” See Exhibit D (hereafter, the “June 5 Letter”). It then

provided a general definition of EO 14115 before directing the attorneys to use




45 See Exhibit B at 1.


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OFAC’s Sanctions List Search tool and to visit the U.S. Department of Treasury’s

website.

      152.   On June 14, 2024, OFAC announced sanctions on Regavim’s activist

initiative, Tzav 9, pursuant to section 1(a)(i)(A) of EO 14115.46

      153.   In response to the announcement, Tzav 9 released a statement to the

press over Whatsapp describing its membership and mission:


             More than 15,000 citizens from across the Israeli
             political spectrum are members of the Tzav 9
             community. Thousands of citizens, among them
             families whose loved ones were murdered or are still
             being held captive by Hamas, participated in the
             peaceful blockades organized by Tzav 9. Public
             opinion polls indicate that 79% of the Israeli public
             supports Tzav 9’s objective. In dozens of peaceful
             civil demonstrations, closely modeled on American
             civil society protests that President Biden expressly
             defended as legitimate expressions protected by the
             First Amendment, participants voiced their
             objection to sustaining and enriching an enemy that
             continues to take pride in the torture, rape and
             murder of Israelis and continues to hold Israeli and
             American citizens hostage and to use the civilian
             population of Gaza as a human shield.47
      154.   Tzav 9 includes among its membership families of victims taken

hostage on October 7, as well as bereaved relatives of soldiers.48


46 Press Statement, Office of the Spokesperson, U.S. Dep’t of State, Sanctioning

Violent Palestinian Group in the West Bank (June 6, 2024),
https://www.state.gov/sanctioning-violent-palestinian-group-in-the-west-bank/.
47 The announcement originally appeared in Hebrew, and portions have been

translated here into English. Please see the following news sources for selections
from the announcement: Elisha Ben Kimon & Ilana Koriel,, ‫תקיפת המשאיות מאבדת‬
‫לא מעבר‬, ‫חוסמים‬: "‫בתנועה שמאחורי ההפגנות מתרצים‬, ‫"שליטה‬, YNETNEWS (May 15, 2024),
https://www.ynet.co.il/news/article/bkygqkzx0; Chaim Golditch, ‫לאחר כמה תקריות‬
‫ מקפיא את פעילותו נגד שיירות הסיוע לעזה‬9 ‫ארגון צו‬: ‫אלימות‬, Kan News (May 16, 2024),
https://www.kan.org.il/content/kan-news/local/749847/.
48 Bar Peleg & Eden Solomon, 'Spill It Onto the Road': How Right-wing Israeli

Activists Are Organizing to Block Aid Trucks to Gaza, HAARETZ (May 20, 2024),
https://bit.ly/3LVNZJg.
                                         42
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         155.   Tzav 9 applauded instances when humanitarian aid reached Gazan

civilians but noted that the majority of aid did not.

         156.   It acknowledged one violent incident on May 13, 2024, that occurred

at an Israeli checkpoint near Tarkumiya. According to Tzav 9: “This incident was

organized by others who took issue with Tzav 9’s peaceful civil disobedience and

sought to instigate aggressive and even violent actions.”

         157.   Israeli news similarly reported that a separate group called “Lo

Nishkach” was responsible for the incident.49

         158.   Nonetheless, Tzav 9 condemned the incident and took steps to

prevent such an occurrence from happening again:


                Tzav 9’s leadership immediately condemned this
                incident and disavowed all connection between the
                organization and the perpetrators of the violence. In
                order to prevent a recurrence of the “hijacking” of
                their legitimate civil protest, Tzav 9 announced that
                it was temporarily suspending operations in order to
                regroup in a manner that would prevent violent
                outsiders from harming the nature and objectives to
                which the movement is committed. At the same
                time, the Regavim Movement notified the leadership
                of Tzav 9 that it would no longer be associated with
                any actions taken to block supply trucks, and would
                limit its efforts to public diplomacy and political
                activism to block supplies to Hamas.
         159.   Despite Tzav 9’s actions to address the incident, the Biden

Administration, upon information and belief, swiftly sanctioned the group without

further investigating the group or Regavim.




49 Id.


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        160.   Tzav’s announcement concluded by noting the Regavim Movement’s

deep commitment “to democratic principles” and to “peaceful protest.” It

concluded,

                We also believe that Israeli citizens have the right
               to speak out against the situation that has been
               imposed by the Biden Administration on the
               government of Israel, in which the rule of an
               internationally sanctioned terrorist organization
               sworn to the eradication of every Jew and the
               erasure of western values is being propped up by the
               victims, against their will.

        161.   On June 17, 2024, the same attorneys who authored the May 23

Letter contacted OFAC again, this time as representatives of Regavim, Mr.

Deutsch, current and future donors to Regavim, and entities that “have interacted

with, supported, and been addressed by Regavim and its leaders.” See Exhibit E

(hereafter, the “June 17 Letter”). The attorneys explained Regavim’s nonviolent

activism and requested clarification regarding the EO.

        162.   More specifically, the June 17 Letter detailed how Regavim’s Tzav 9

initiative has engaged in protest activities that “are completely nonviolent, and

precisely the kind of public advocacy, and civil disobedience, of which President

Biden, and members of his administration, have explicitly approved.” Exhibit E

at 1.

        163.   The June 17 Letter noted that such sanctions were put into place

despite the following circumstances:


               [Tzav 9’s] activities are exclusively speech and civil
               disobedience, which President Biden has declared is
               protected First Amendment activity; Hamas is,
               indisputably, capturing aid sent into Gaza; The
               transfer of any resources to Hamas is a federal crime
               and directly contrary to the foreign policy interests

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             of the United States; Tsav[sic] 9 has explicitly and
             publicly condemned any violence in connection with
             the delivery of aid to Gaza, and has taken careful
             and effective steps to ensure that its activities are
             completely peaceful; Transfer to Hamas, or capture
             by Hamas, of aid designated for Gaza has occurred
             repeatedly, as acknowledged by the State
             Department itself, former US Ambassador David
             Satterfield, the United Nations Relief and Works
             Agency, and various Palestinian media and civic and
             political organizations including Fatah, as well as by
             the Israeli government and the Israel Defense
             Forces.50
      164.   Although officials of Regavim were in regular contact with U.S.

officials, the U.S. Government did not contact anyone from Regavim before the

issuance of the sanctions against Tzav 9.

      165.   The attorneys then asked for clarification regarding (1) whether

American citizens may donate to Regavim and whether those funds may be

designated for Tzav 9; (2) whether an American citizen may serve as an officer of

Regavim; and (3) whether American citizens can legally invite members of

Regavim or Tzav 9 to their institutions in the United States to speak and whether

American citizens may cover the costs of those speakers or pay them honoraria.

Exhibit E at 2.

      166.   OFAC responded on July 3, 2024, asserting that OFAC “does not

administer comprehensive sanctions against the West Bank” and that “[t]he West

Bank is not subject to broad, jurisdiction-based sanctions at this time, meaning

that not all activity involving the West Bank, or persons located in the West Bank,

are necessarily prohibited.” See Exhibit F at 1-2.




50 Exhibit E at 1-2.


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      167.      OFAC then directed the attorneys for Regavim and others to visit

OFAC’s website and provided general information regarding the implementation

of U.S. sanctions. OFAC concluded by asserting that all U.S. persons must comply

with OFAC regulations. Id. at 2.

      168.      On July 11, 2024, OFAC placed additional individuals and entities

on the SDN List, including Reut Ben Chaim (wife of Plaintiff Yosef Ben Chaim),

Isaschar Manne, Aviad Shlomo Sarid, as well as several Israeli charities and

farms.51

   E. Effects of EO 14115 on Plaintiffs

                   i. Isley


      169.      As a direct and proximate result of EO 14115, Plaintiff Isley cannot

freely exercise his First Amendment rights of free speech and free exercise of

religion. Instead, Mr. Isley fears official condemnation of his religious beliefs by

his own government.

      170.      To carry out his religious mission, Mr. Isley invites Israeli Jews from

Judea and Samaria to events in the United States and financially supports Jewish

efforts to construct a new Jewish Temple. A core tenet of Mr. Isley’s faith is

supporting the Jewish people in their ancestral homeland by teaching Christians

about Israel.

      171.      Due to EO 14115 and its implementation, however, Mr. Isley is

unable to invite blocked persons or entities to events in the US, nor is he able to




51 Recent Action, Office of Foreign Assets Control, U.S. Dep’t of the Treasury,

West Bank-related Designations; Transnational Criminal Organizations
Designation (July 11, 2024), https://ofac.treasury.gov/recent-actions/20240711.
                                           46
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contribute financially to Jews who reside in Judea and Samaria for fear of them

being sanctioned under the EO, given the vast scope of the EO and the wide range

of non-violent conduct it covers.

      172.   In particular, Jews from the West Bank that Mr. Isley regularly

interacts with as part of his organization’s religious mission and faith are those

that, like Plaintiff Ari Abramowitz, live on isolated farms that are more likely to

be targeted by Palestinian terrorism.

      173.   Because self-defense against such terrorism has been counted by the

Administration as “settler violence” and sanctionable, Mr. Isley cannot properly

plan for or conduct activities with these Jewish people because they may, at a

moment’s notice, be sanctioned. No amount of due diligence can cure this.

      174.   Both the inability of an individual to invite speakers to events in the

United States related to his religious mission and the related uncertainty in

organizing such events are cognizable injuries in the context of unlawful visa

restrictions. Int’l Refugee Assistance Project v. Trump, 265 F. Supp. 3d 570, 598

(D. Md. 2017), aff'd, 883 F.3d 233 (4th Cir. 2018), as amended (Feb. 28, 2018), cert.

granted, judgment vacated, 138 S. Ct. 2710, 201 L. Ed. 2d 1094 (2018), and cert.

granted, judgment vacated, 138 S. Ct. 2710, 201 L. Ed. 2d 1094 (2018) (“Even

without identifying specific individuals who will definitely be barred from entry

into the United States to attend its events, [plaintiff] has alleged that the

Proclamation presently constrains their efforts to recruit attendees for their

upcoming meetings and conferences and to secure their arrival in time for the

event.”)




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          175.   Since Mr. Isley is unable to bring speakers from the West Bank who

oppose the two-state solution without risking sanctions, he will be unable to fully

transmit his organization’s values to Christians on this important issue. See State

v. Trump, 265 F. Supp. 3d 1140, 1152 (D. Haw.), aff’d in part, vacated in part, 878

F.3d 662 (9th Cir. 2017), rev'd and remanded, 585 U.S. 667, 138 S. Ct. 2392, 201

L. Ed. 2d 775 (2018) (association of Muslims has standing to challenge visa

restrictions because they would make it more difficult to be Muslim).

          176.   Mr. Isley also accurately perceives that EO 14115 targets him, as

well as other Christians and Jews who share his religious views, and as a result,

he will not be able to freely associate with those of other faiths who will be warded

off by EO 14115’s imprimatur of government condemnation of his beliefs.

                   ii. Regavim


          144.   As a direct and proximate result of EO 14115, and the sanctions

imposed under it, the donation platform JGive froze Plaintiff Regavim’s online

fundraising site for accepting donations in U.S. dollars. In addition, Regavim has

suffered and will continue to suffer significant economic loss due to the sanctions

against Tzav 9 and the imminently threatened sanctions against Regavim and its

officers, as many potential donors fear that they will be subject to future sanctions

without prior notice should they donate or otherwise support Israeli civil society

organizations that oppose a two-state solution or oppose aid to Hamas and its

allies.


                   iv. Deutsch




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      145.   As a direct and proximate result of EO 14115, Plaintiff Deutsch has

suffered and will continue to suffer actual injury because he is unable to carry out

his duties, both in his capacity as Director General of Regavim and in his

individual capacity. Mr. Deutsch’s right of free expression, guaranteed by the First

Amendment, has been chilled, if not outright barred.


      146.   Mr. Deutsch now must expend significant resources in the form of his

own time and finances to continue engaging in the types of speech in which he has

engaged for years.


                 v. Ben Chaim

      146.   As a direct and proximate result of the EO, Mr. Ben Chaim has

suffered and will continue to suffer. Because his wife has been placed on the SDN

List, Mr. Ben Chaim is unable to receive any salary from his wife’s small business.

Mr. Ben Chaim is also unable to support his family of eight because his wife cannot

receive any salary or other payments to her business account or any other account.

Lastly, Mr. Ben Chaim is unable to support his wife—both financially and vis-à-

vis her political activities—as a direct result of the sanctions.

                 v. Abramowitz


      147.   As a direct and proximate result of the EO, Plaintiff Abramowitz has

suffered and will continue to suffer actual injury, as his ability to finance and

develop Arugot Farm in the West Bank has been significantly impaired.


      148.   Plaintiff Abramowitz is also put in direct fear of death or bodily harm

as result of the Administration’s imposition of sanctions on Jews in the West Bank

for their exercise of self-defense against the massive wave of Palestinian terrorist


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violence. Because the Administration relies on and adopts, without independent

verification, the conclusions of radical, ideological anti-settler groups about violent

incidents in the West Bank, Jews like Mr. Abramowitz who are under constant

threat of violence face a stark choice: refrain from defending themselves if

attacked or face debilitating sanctions.


      149.   The Biden administration is aware that its program to impose

sanctions under EO 14115 is, in reality, focused solely on Jews and ignores almost

all violent acts committed by Arab or other Muslim actors.

      150.   For example, the Palestinian Authority is a formal legal organization

that maintains bank accounts susceptible of being sanctioned under EO 14115.

      151.   The Palestinian Authority indisputably engages in actions which

threaten the cause of peace in the Middle East—even as the Biden Administration

defines that concept—because of its infamous “Pay for Slay” program.

      152.   Yet, upon information and belief, no steps have been taken to

sanction the Palestinian Authority for its “Pay for Slay” program. For that matter,

no steps have been taken to sanction any Arab or Muslim individual pursuant to

EO 14415.

      153.   In an effort to conceal this reality, the Biden Administration

announced on June 6, 2024, that it would exercise the authority conferred by EO

14115 to sanction the Lion’s Den terror group.

      154.   But this announcement was nothing more than political theater. In

reality, the action taken by the United States Government sanctioned no one and

had absolutely no tangible or lasting effect on any person, organization, or bank

account.

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      155.   The announcement also cited April 2024 Palestinian media reports

of Lions’ Den fighters targeting Israeli forces with small arms at an Israeli

checkpoint in Nablus.52 However, these reports were never confirmed, the group

never claimed responsibility for that attack, and it could well have been

perpetrated by Palestinian Islamic Jihad fighters.

      156.   In contrast to the Administration’s sanctioning of Jewish persons and

entities, the sanctioning of Lion’s Den represents the quintessential “smoke and

mirrors.”

      157.   The Lion’s Den group is, quite obviously, not an incorporated entity.

It maintains no bank account in any financial institution anywhere in the world.

      158.   No natural person identified with the Lion’s Den was sanctioned or

even named as part of the sanctions imposed on the Lion’s Den entity itself.

      159.   Since June 6, 2024, no person identified or associated with the Lion’s

Den has been the object of sanctions imposed pursuant to EO 14115.

      160.   As a result, there has never been any effect or impact of the sanctions

purportedly imposed on the Lion’s Den group pursuant to EO 14115.

      161.   The sanctioning of the Lion’s Den was an empty gesture by the Biden

Administration to create the illusion of evenhandedness without sanctioning a

single individual Palestinian terrorist.




52 Press Statement, Office of the Spokesperson, U.S. Dep’t of State, Sanctioning

Violent Palestinian Group in the West Bank (June 6, 2024),
https://www.state.gov/sanctioning-violent-palestinian-group-in-the-west-bank/
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                               CAUSES OF ACTION


                                      COUNT I

Violation of Plaintiffs’ Rights under the Religious Freedom Restoration
                                     Act,
                          42 U.S.C. §2000bb et seq.

      145.     Plaintiffs repeat all the allegations as alleged above and incorporate

them herein.

       146. The Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §2000bb-

1(a), prohibits the government from substantially burdening the exercise of

religion, even if the burden results from a rule of general applicability, unless the

government can show the burden is the least restrictive means of accomplishing a

compelling government interest.

       147. EO 14115 substantially burdens the exercise of Plaintiffs’ religion.

       148. Plaintiffs Isley, Deutsch, Ben Chaim, and Abramowitz hold sincere

religious beliefs that the Jewish People have a right and obligation to live in Judea

and Samaria. EO 14115 renders sanctionable any activity that threatens peace,

stability and security in the “West Bank,” i.e., Judea and Samaria. That vague,

overreaching statement has the direct effect of preventing these Plaintiffs from

advocating for their religious beliefs.

       149. The EO also prevents Mr. Isley from furthering his religious beliefs

by prohibiting contributions to blocked individuals and disallowing blocked

individuals from entering the United States. As a result, they cannot share and

discuss their religious beliefs regarding Jewish settlement in Judea and Samaria.

       150. The only interest that the Administration has cited in support of the

EO is its concern that the targeted activity might “undermine the foreign policy


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objectives of the United States,” but this is an insufficiently compelling interest to

justify the imposition of sanctions on Plaintiffs for engaging in First Amendment-

protected speech. The idea that First Amendment-protected speech can be

suppressed any time it causes friction with an administration’s foreign policy

objectives was the rationale underlying the Sedition Act of 1798, and this is a view

that has not “carried the day in the court of history.” N.Y. Times Co. v. Sullivan,

376 U.S. 254, 276 (1964).

       151. Furthermore, the Administration has not shown that enforcing the

EO against Plaintiffs and similarly situated persons is the least restrictive means

to further any alleged compelling interest, even if one exists.

       152. As such, EO 14115 and its implementation fail to conform with RFRA

and must not be enforced against Plaintiffs and similarly situated persons.


                                     COUNT II

 Violation of Plaintiffs’ First Amendment Rights to Freedom of Speech,
                            U.S. Const. amend. I

      153.    Plaintiffs repeat all their allegations as alleged above and

incorporate them herein.

      154.    The First Amendment to the United States Constitution provides:

“Congress shall make no law . . . abridging the freedom of speech.” U.S. Const.,

amend. I. Content-based restrictions on speech are subject to strict scrutiny,

which means they will be stricken as unconstitutional as applied to a speaker

unless the government can prove that the restriction is necessary to further a

compelling governmental interest. Sable Commc’ns of Cal. v. FCC, 492 U.S. 115,

126 (1989).

      155.    EO 14115 imposes content-based restrictions on Plaintiffs.

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      156.   As alleged above, EO 14115 prevents Plaintiff Isley from exercising

his First Amendment right to hear the views and philosophies of blocked persons

and other like-minded individuals in Israel.

      157.   Mr. Isley is also chilled from exercising his free speech rights by

making charitable contributions that further his protected religious values.

      158.   In addition, EO 14115 prevents Plaintiffs Deutsch, Ben Chaim, and

Abramowitz from exercising their First Amendment right of free expression.

Plaintiffs Deutsch and Abramowitz, as alleged above, are prevented from

advocating their views that oppose the two-state solution and advocate for the

Jewish presence and land ownership/control in Judea and Samaria or the “West

Bank” for fear that such speech and conduct will subject them to the quasi-

criminal sanctions regime of EO 14115. Plaintiff Ben Chaim can no longer support

his wife’s advocacy of Israel and, in particular, her peaceful protests against the

provision of “humanitarian” aid to Hamas and its allies.

      159.   Inasmuch as the EO and its implementation contravene the First

Amendment free speech guarantee, it is unconstitutional and invalid because it is

not necessary to further a compelling governmental interest.

      160.   There is no compelling governmental interest to regulate or

otherwise restrict Plaintiffs’ right of free expression. Preventing Plaintiffs from

exercising First Amendment rights is not necessary to achieve the United States

Government’s alleged foreign policy goals and utterly fails to accomplish what

Defendants set out to do in issuing and implementing EO 14115.




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      161.   Because the EO’s restrictions on Plaintiffs’ speech and expression are

not necessary to further a compelling governmental interest, it must not be

enforced against Plaintiffs.


      162.   Furthermore, the First Amendment prohibits the U.S. Government

from enacting laws that are overbroad. "Because First Amendment freedoms need

breathing space to survive,” the U.S. Government “may regulate in the area only

with narrow specificity." Gooding v. Wilson, 405 U.S. 518, 522 (1972).

      163.   “If the overbreadth is ‘substantial,’ the law may not be enforced

against anyone, including the party before the court, until it is narrowed to reach

only unprotected activity, whether by legislative action or by judicial construction

or partial invalidation.” Brockett v. Spokane Arcades, 472 U.S. 491, 503-04, 105 S.

Ct. 2794, 2802 (1985).

      164.   The Supreme Court “provide[s] this expansive remedy out of concern

that the threat of enforcement of an overbroad law may deter or ‘chill’

constitutionally protected speech--especially when the overbroad statute imposes

criminal sanctions.” Virginia v. Hicks, 539 U.S. 113, 119 (2003).

      165.   Many similarly situated as Plaintiffs, “rather than undertake the

considerable burden (and sometimes risk) of vindicating their rights through case-

by-case litigation, will choose simply to abstain from protected speech—harming

not only themselves but society as a whole, which is deprived of an uninhibited

marketplace of ideas.” Id. (internal citations removed).

      166.   Because EO 14115 chills the protected speech and expression of

Plaintiffs, it is unconstitutional and must not be enforced against Plaintiffs.




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                                    COUNT III

   Violation of Plaintiffs’ First Amendment Rights to Free Exercise of
                                   Religion,
                            U.S. Const. amend. I

      167.   Plaintiffs repeat all their allegations as alleged above and

incorporate them herein.

      168.   The Free Exercise Clause of the First Amendment protects the right

of American citizens to believe and exercise their religious beliefs without

targeting or undue burdening by the federal government.

      169.   Mr. Isley’s free exercise of his sincerely held beliefs motivating his

monetary and other support is burdened because he is prevented from

contributing to blocked persons and/or having blocked persons enter the United

States to discuss and advocate these religious ideas. Moreover, Mr. Isley is

prevented from making religious contributions to charities that further his

religious philosophy of increasing the Jewish population in Judea and Samaria or

the “West Bank.” As a result of EO 14115, Mr. Isley can no longer make any

contributions that may be perceived as threatening the peace, stability, or security

of Judea and Samaria for fear that the money will ultimately be frozen under EO

14115. These charities serve as part and parcel of Mr. Isley’s core religious beliefs

and Defendants have improperly interfered with those beliefs. Isley’s religious

exercise is burdened in the territory of Texas, where he wishes to host persons

potentially under sanction.

      170.   Plaintiffs Deutsch, Ben Chaim, and Abramowitz, as U.S. Citizens,

are precluded from engaging in actions to advance their fundamental religious

belief that the Land of Israel, especially Judea and Samaria, has been promised


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by God to the Jewish People in perpetuity and that the Jewish People have a

religious right and obligation to return to, settle, and develop Judea and Samaria.

EO 14115 prescribes quasi-criminal sanctions on Plaintiffs Deutsch and

Abramowitz because of their deeply rooted religious convictions.

      171.   Because of their deeply rooted religious convictions, Plaintiffs

Deutsch and Abramowitz are prohibited from working with American partners,

such as Mr. Isley, to advance Jewish interests in a nonviolent manner in Judea

and Samaria. Similarly, Plaintiff Ben Chaim is prevented from supporting his

wife’s sincere religious belief that Israel has a Jewish-religious right to defend

itself from existential threats such as Hamas.

      172.   The EO cannot be considered to impose “generally applicable”

burdens on religious practice because it vests complete discretion in the

Secretaries of State and Treasury to determine what constitutes a sanctionable

violation. “The creation of a formal mechanism for granting exceptions renders a

policy not generally applicable, regardless of whether any exceptions have been

given, because it ‘invite[s]’ the government to decide which reasons for not

complying with the policy are worthy of solicitude—here, at the [Secretaries’] ‘sole

discretion.’” Fulton v. City of Phila., 593 U.S. 522, 537 (2021). The intent

underlying EO 14115 is illuminated by the ways in which that discretion has been

exercised so far.

      173.   EO 14115 was intended to target a particular subset of religious

belief; namely, to target Jewish individuals and those who hold to the religious

belief that Jews have a right to settle in Judea and Samaria.




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       174.   In both public and private statements, the drafters of the EO have

evinced religious animus against Jews and those holding to religious beliefs

concerning the land. During the drafting of the EO, the drafters evinced religious

animus by relying exclusively on anti-Jewish sources of evidence.

       175.   Since its promulgation, the Secretaries of State and Treasury have

exercised their discretion by applying EO 14115 disparately to Jews and those

holding religious beliefs concerning the land.

       176.   EO 14115 therefore violates the Free Exercise Clause by creating a

formal mechanism by which the Secretary is directed to evaluate a person’s

religious beliefs and decide which beliefs are conducive to “peace” (and therefore

worthy of an exception) and which are not (and therefore worthy of punishment).

       177.   Consequently,    the   EO,    both   facially   and   as   applied,   is

unconstitutional as it improperly interferes with Plaintiffs’ right to exercise their

religious beliefs.


                                     COUNT IV

  Violation of Plaintiffs’ Fifth Amendment Rights to Equal Protection
                            U.S. Const. amend. V

        178. Plaintiffs Deutsch, Ben Chaim, and Abramowitz repeat all their

allegations as alleged above and incorporate them herein.

        179. The Fifth Amendment’s Due Process Clause includes an equal

protection component. United States v. Windsor, 570 U.S. 744, 774 (2013) (“The

liberty protected by the Fifth Amendment’s Due Process Clause contains within it

the prohibition against denying to any person the equal protection of the laws.”).




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        180. Government action that implicates an equal protection right will be

subject to strict scrutiny if the action targets a suspect class (like race or alienage)

or burdens the exercise of a fundamental right.

        181. EO 14115 is subject to strict scrutiny because the creation, purpose,

and implementation of the EO is targeted at the Jewish People and their religious

beliefs. Although Defendants avoided making express references to race or religion

in the EO, the purpose and motivation behind EO 14115 is clear. The Background

Press Call, supra paragraph 74, discusses only actions by the Jewish community

in the West Bank. It is clear that the content and structure of the EO is aimed at

Jewish individuals and entities, not Palestinians or persons of any other national

origin, religion, or ethnicity. Moreover, the only individuals who have been placed

on the EO’s sanction list are Jews, even though there are thousands of

Palestinians who have engaged in terrorist attacks on Jewish civilians that

unquestionably threaten the “peace, security, or stability of the West Bank.” EO,

§1(a)(i)(A).

        182. FinCEN’s “Alert on Israeli Extremist Settler Violence Against

Palestinians in the West Bank” does not even attempt to conceal the fact that the

EO and its implementation is aimed at the Jewish people and only the Jewish

people. The Alert addresses only “Israeli” individuals and entities with no

reference to any other race. In instructing financial institutions concerning the

EO’s sanction regime, FinCEN listed potential “red flag indicators” that can assist

a financial institution to identify “suspicious activity related to the financing of

Israeli extremist settler violence against Palestinians in the West Bank”:




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              (a) Payments to any organizations or groups,
             including nonprofit organizations . . . linked to
             Israeli violent extremist groups in the West Bank.

               (b) Information included in a transaction between
             customers, such as references in the memo field, that
             indicate support for Israeli violent extremist groups
             or campaigns.

               (c) Transactions with no apparent economic,
             business, or lawful purpose associated with a rapid
             movement of funds and linked to NPOs active in
             supporting violent extremist Israeli settlers in the
             West Bank, particularly if the NPO has advocated
             for, or solicited donations on social media in support
             of, Israeli violent extremist groups or campaigns.
             (emphasis added)53

       183. In    short,   despite   the   EO’s    facially   neutral      language,   the

Administration has made clear by its words and enforcement actions that only

Jewish people are at risk at being sanctioned under EO 14115.

       184. The EO constitutes a denial of Equal Protection of the laws because

it threatens to sanction Jewish individuals who act in self-defense.

       185. Jewish     American      citizens,   such   as    Plaintiffs   Deutsch     and

Abramowitz, are at significant risk of terrorist violence. Indeed, they both have

been subject to numerous instances of unprovoked violence by neighboring

Palestinians. The EO threatens them with life-shattering sanctions if they use

force in self-defense, and such acts are falsely dubbed “settler violence” by the anti-

Jewish groups that report to the U.N., as the Defendants adopt OCHA reports

without independent verification. Yet no such penalties are imposed on non-

Jewish U.S. citizens in the West Bank who act in self-defense.



53 FINCEN ALERT ON ISRAELI EXTREMIST SETTLER VIOLENCE, supra note 17.


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       186. In addition, under Yick Wo v. Hopkins, 118 U.S. 356 (1886), a prima

facie race-neutral law “administered by public authority with an evil eye and an

unequal hand” infringes upon the right to equal protection. Yick Wo v. Hopkins,

118 U.S. 356, 373–74 (1886). The EO has the effect of treating Israeli officials

enforcing Israeli property law and land use law against Palestinians as wrongful;

it views Jews defending their property and/or their lives against Palestinian

theft/terrorism as wrongful; and it views Jewish assertion and public promotion of

property rights within the West Bank as wrongful.

       187. Because the EO is targeted against Jews, it is subject to strict

scrutiny, and it is the government’s burden to prove that the EO is necessary to

further a compelling governmental interest. Failing that, the EO must be vacated

under the Fifth Amendment.

       188. The EO does not withstand strict scrutiny because there was no

compelling governmental interest to declare a national emergency or to impose a

sanctions regime due to the alleged activities of a miniscule sector of an already

small population in a geographically limited area under legitimate and effective

control by the Israeli government. Even assuming the stability of Judea and

Samaria is a compelling governmental interest, the issuance of the EO was not

necessary to further that interest (and it is certainly not narrowly tailored to

infringe upon no more protected activity than is necessary). This is evident, first

and foremost (and among other factors), from the fact that no Palestinian

terrorists or officials have been considered for placement on the SDN list.




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                                      COUNT V

     Violation of Plaintiffs’ Fifth Amendment Rights to Due Process
                           U.S. Const. amend. V


       189.   Plaintiffs Deutsch, Ben Chaim, and Abramowitz repeat all their

allegations as alleged above and incorporate them herein.

       190.   The EO Notice allows for sanctions when anyone in any manner

(“directly or indirectly”) harms “peace, security, or stability in the West Bank.” The

U.S. Secretary of the Treasury is empowered to define these key terms.

       191.   The Fifth Amendment requires that a law give a person of ordinary

intelligence a reasonable opportunity to know what conduct is prohibited.

       192.   The EO violates the Fifth Amendment’s requirement of fair notice

because it does not sufficiently describe what conduct constitutes sanctionable

activity.

       193.   The EO is also unconstitutionally overbroad because it “(1) prohibits

a substantial amount of constitutionally protected freedoms, when judged in

relation to the regulation’s ‘plainly legitimate sweep’ . . . and (2) is not susceptible

to a limiting construction that avoids constitutional problems.” McClelland v. Katy

Indep. Sch. Dist., 63 F.4th 996, 1012 (5th Cir. 2023).

       194.   The EO violates the Due Process Clause because it prohibits

Plaintiffs and others similarly situated from exercising their constitutionally

protected speech rights in support of the rights of Jewish settlers residing in the

West Bank, and there is no way to read the key terms “peace, security, or stability”

narrowly to avoid this effect.




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      195.     Further, the EO is unconstitutionally vague because it “(1) fails to

provide those targeted by the statute a reasonable opportunity to know what

conduct is prohibited, or (2) is so indefinite that it allows arbitrary and

discriminatory enforcement.” McClelland., 63 F.4th at 1013.

      196.     The EO is so vague that regulated parties cannot possibly guess what

types of speech are affected, as evidenced by the multiple requests for clarification

that have already been received by OFAC. This lack of precision also vests those

responsible for enforcing the EO with impermissible discretion to act in an

arbitrary and discriminatory manner, discretion which they have so far wielded to

sanction exclusively Jewish individuals under EO 14115.

      197.     Such vagueness is only exacerbated by the fact that regulated parties

do not know what constitutes a violation of the EO. Many terrorists have

committed attacks and arson in the West Bank but have not faced sanctions under

EO 14115.

      198.     Therefore, the arbitrary nature of the Administration’s enforcement

of EO 14115 contributes to the vagueness of the EO, rendering it void.

                                 COUNT VI
 Violation of Plaintiffs’ Rights under the Administrative Procedure Act
                            5 U.S.C. § 500, et seq.

       143. Plaintiffs repeat the allegations as alleged above and incorporate

them herein.

       144. The IEEPA authorizes the president to declare the existence of an

“unusual and extraordinary threat . . . to the national security, foreign policy, or

economy of the United States” that originates “in whole or substantial part outside

the United States.” 50 U.S.C. §1701(a). It further authorizes the President, after


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such a declaration, to block transactions and freeze assets to deal with the threat.

Section 1701(b) states that:

      the authorities granted to the President by section 1702 of this title may
      only be exercised to deal with an unusual and extraordinary threat with
      respect to which a national emergency has been declared for purposes of
      this chapter and may not be exercised for any other purpose.

       145. The President lacked the statutory authority to issue the EO in the

first place because the alleged settler violence in Judea and Samaria is not an

“unusual and extraordinary threat” as a matter of fact and law. 50 U.S.C. §1701(b).

       146. The number of incidents referred to in the preamble of the EO is

negligible compared with the number of terrorist attacks against Jewish residents

of the region.

       147. Moreover, the veracity of the information relied upon in the EO is

highly doubtful. In fact, there is reason to believe that the American authorities

relied exclusively upon information relayed by extremist groups without making

any effort to corroborate with Israeli authorities and the individuals in question.

Accordingly, EO 14115 was issued with no statutory authority under the IEEPA.

       148. Section 1182(f) of the INA provides that:

      Whenever the President finds that the entry of any aliens or of any class of
      aliens into the United States would be detrimental to the interests of the
      United States, he may by proclamation, and for such period as he shall deem
      necessary, suspend the entry of all aliens or any class of aliens as
      immigrants or nonimmigrants, or impose on the entry of aliens any
      restrictions he may deem to be appropriate.

       149. The prerequisite set forth in §1182(f) is that the President must make

a finding that the entry of the covered aliens “would be detrimental to the interests

of the United States.” 50 U.S.C. §1182(f).




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       150. With regards to Section 4 of EO 14115, however, the President did

not make the statutorily required finding. There is no evidence that the Biden

Administration conducted any significant evaluation or study concerning the

effect of the entry into the United States of Jewish residents in Judea and Samaria

or other Jews who allegedly “threaten the peace, security or stability of the West

Bank.” Instead, the Biden Administration relied on unverified hearsay and biased,

inaccurate data from extremist groups to reach the unfounded conclusion that the

entry of these settlers constituted a threat to U.S. national security.

       151. Section 4 of EO 14115 is not based on any finding that the entry of

the covered aliens “would be detrimental to the interests of the United States” [8

U.S.C. 1182(f)] and, therefore, was issued without statutory authority.


       152. Under the APA, a court must “hold unlawful and set aside” agency

action that is “arbitrary and capricious, an abuse of discretion, or otherwise not in

accordance with law” (5 U.S.C. § 706(2)(A)), “contrary to constitutional right,

power, privilege, or immunity” (5 U.S.C. § 706(2)(B)), or “in excess of statutory

jurisdiction, authority, or limitations,” 5 U.S.C. § 706(2)(C).

       153. Defendants’ implementation of Section 1 of the EO is arbitrary and

capricious because there is no evidence that Jewish-Israeli settler violence is a

threat to the stability of the West Bank or a threat to U.S. national security.

Moreover, the arbitrary and capricious nature of OFAC’s determination of which

entities to place on the SDN List in implementing the EO is further demonstrated

by the fact that OFAC has exclusively targeted Israeli Jews, despite the

overwhelming evidence that Israeli Jews in Judea and Samaria pose no threat to

stability or peace.

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       154. Defendants failed to perform any basic fact-finding prior to

implementing and enforcing the EO in such a one-sided and draconian manner.

       155. EO 14115 also violates the APA because it was issued lacking any

statutory authority, either under the IEEPA, NEA or the INA, as discussed above.

                           PRAYER FOR RELIEF


WHEREFORE, Plaintiffs respectfully request that the Court:


            a. Declare that EO 14115 and Defendants’ enforcement of EO 14115

               against Plaintiffs violates the Religious Freedom Restoration Act;

            b. Declare that EO 14115 and Defendants’ enforcement of EO 14115

               against Plaintiffs violates the First and Fifth Amendments to the

               United States Constitution;

            c. Declare that EO 14115 was issued without statutory authority

               under the IEEPA and INA and issued in violation of the

               Administrative Procedure Act’s provisions, 5 U.S.C. §706.

            d. Issue an order preliminarily and permanently setting aside the

               agency action and enjoining Defendants from implementing and

               enforcing EO 14115 both as to Plaintiffs and as to any similarly

               situated persons who likewise object to EO 14115 on religious or

               speech grounds;

            e. Grant the appropriate attorneys’ fees and litigation costs under

               the Equal Access to Justice Act, 28 U.S.C. §2412(b);

            f. Grant the appropriate attorneys’ fees and litigation costs under

               42 U.S.C. §1988(b) as to the RFRA claim;



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            g. Grant such other and further relief as the Court may deem just

                and proper.

Respectfully submitted,


Date: August 6, 2024.


MITCHELL LAW PLLC                   MARCUS & MARCUS LLC
Jonathan Mitchell                   Jerome M. Marcus*
jonathan@mitchell.law               jmarcus@marcuslaw.us
111 Congress Avenue, Suite 400      P.O. Box 212
Austin, Texas 78701                 Merion Station, PA. 19066
T. (512) 686-3940                   T. (610) 664 1184
F. (512) 686-3941

ZELL, ARON & CO.
                                    Professor Abraham Bell*
L. Marc Zell*                       avibell@sandiego.edu
mzell@fandz.com                     University of San Diego School of Law
34 Ben Yehuda St.                   5998 Alcala Park
14th Floor                          San Diego, CA 92110
Jerusalem, Israel 9423001           T. (619) 260 7519
T. 011-972-2-633-6300

and
                                    HOLTZMAN VOGEL BARAN TORCHINSKY
Noam Schreiber*                     & JOSEFIAK, PLLC
noam.schreiber@fandz.com
Binyamin Tech                       Jason B. Torchinsky*
Habanai 2                           jtorchinsky@holtzmanvogel.com
East Binyamin, Israel               Erielle Davidson*
T. 011-972-2-633-6300               edavidson@holtzmanvogel.com
                                    2300 N Street NW, Suite 643
                                    Washington, DC 20037
                                    T. (202) 737-8808
LEWIN & LEWIN, LLP                  F. (540) 341-8809
Nathan Lewin*
nat@lewinlewin.com                  and
888 17th Street NW, 4th Floor
Washington, DC 2006                 Andrew Pardue*
T. (202) 828-1000                   apardue@holtzmanvogel.com
                                    15405 John Marshall Highway
                                    Haymarket, VA 20169
Attorneys for Plaintiffs            T. (540) 341-8808
                                    F. (540) 341-8809
*Pro Hac Vice Forthcoming

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